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                              UNITED STATES DISTRICT COURT

                              SOUTHERN DISTRICT OF FLORIDA

                                          MIAMI DIVISION

  EXPRESS FREIGHT INTERNATIONAL,
  EFI EXPORT & TRADING CORP.,                        CASE NO.
  MARDERS, and REDLANDS OFFICE
  CLEANING SOLUTIONS, LLC, on behalf                 CLASS ACTION COMPLAINT
  of themselves and all others similarly situated,
                                                     JURY TRIAL DEMANDED
                                 Plaintiffs,

         v.

  HINO MOTORS, Ltd., TOYOTA MOTOR
  CORPORATION, HINO MOTORS
  MANUFACTURING U.S.A., Inc., and
  HINO MOTORS SALES U.S.A., Inc.

                                 Defendants.
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  I.     INTRODUCTION
         Plaintiffs Express Freight International, EFI Export & Trading Corp., Marders, and

  Redlands Office Cleaning Solutions, LLC, individually and on behalf of all others similarly

  situated (the “Classes”), allege the following against Hino Motors, Ltd., (“Hino Motors”), Hino

  Motors Manufacturing U.S.A., Inc., (“HMM”) and Hino Motors Sales U.S.A., Inc. d/b/a Hino

  Trucks (“Hino Trucks”) (together, “Hino”), and Toyota Motor Corporation (“Toyota”)

  (collectively, “Defendants”), based, where applicable, on personal knowledge, information and

  belief, public corporate admissions, and the pre-filing investigation of counsel.

  II.    NATURE OF THE ACTION
        1.      This case concerns a now-pervasive problem in the automotive industry:

 automakers’ schemes to make it seem like their vehicles have lower emissions and better fuel

 economy than they actually do. As with other well-known instances of emissions fraud—the

 Volkswagen “Clean Diesel” case; the Fiat Chrysler “EcoDiesel” case; the “Audi CO2” gasoline

 case; the Mercedes-Benz BlueTEC case; and the data manipulation scandals by Japanese

 automakers Mitsubishi Motors, Suzuki, Mazda, and Yamaha are a few examples 1—Plaintiffs

 allege that Defendants in this case illegally manipulated emissions and fuel economy test results for

 Hino-branded trucks in the United States.

        2.      This latest scheme involves tens of thousands of Hino trucks sold in the United

 States with hidden defects that increased their toxic emissions beyond what the law allowed and

 what owners and lessees bargained for. Plaintiffs understand that the scheme covers, at a minimum,

 all model year 2004-2021 trucks sold in the United States that contain a Hino A05C, A09C, E13C,

 NO4C, J05D, J05E or J08E diesel engine, including but not limited to the following models: Hino

 155, 195, 238, 258, 268, 338, M series, L series and XL series (the “Class Trucks”). As a result of

 Defendants’ scheme, referred to herein as the “Emissions and Fuel Economy Scheme,” the Class


  1
   See, e.g., Eri Sugiura, Toyota Truck Unit Shares Plunge After it Admits Cheating on Emissions
  Data, Financial Times (March 7, 2022),
  https://www.ft.com/content/243e3fce-218c-4629-9c7c-6d494f3f1cdd.




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 Trucks delivered worse fuel economy on the road than during regulatory testing and emitted more

 pollution than permitted by law. This scheme damaged purchasers and lessees of these trucks who,

 among other things, paid for more fuel than they would have had these trucks achieved the

 represented fuel economy.

        3.      This latest fraud was publicly revealed in a series of press releases beginning on

 March 4, 2022, in which Hino admitted to “misconduct” related to false emissions measurements

 and incorrect fuel economy performance in its applications for certification to sell vehicles in Japan

 from as far back as 2016. 2 In the same release, Hino admitted that it also had identified “potential
 issues regarding certification testing … for the North American market.” Id. After Hino reported

 these “potential issues” to U.S. regulators, Hino explains, the U.S. Department of Justice

 commenced an investigation. Id. In an unusually frank admission, Hino suggested that, as with

 Volkswagen in the “Clean Diesel” scandal, the company had prioritized “internal pressures to

 achieve certain targets and . . . schedules” over honesty with its customers and regulatory

 compliance. Id. Likewise, a subsequent Hino press release in August 2022 attributed the

 misconduct to “management’s . . . creating an environment and mechanism prioritizing meeting

 schedules and numerical goals over due processes.” 3

        4.      It has recently come to light that even Hino’s public admissions in March 2022 did

 not disclose the full story. A report from a Special Investigation Committee of outside experts

 convened in the wake of Hino’s admissions has found evidence of “long-term misconduct

 concerning applications for engine certification” dating as far back as 2003, more than a decade

 earlier than Hino had earlier admitted. Id.

        5.      Hino was aware of its misconduct, and its impact on trucks sold in the U.S., long

 before its public admission in March 2022. Indeed, Hino announced in December 2020 that it


  2
    See Misconduct concerning Engine Certification – Hino Press Release (March 4, 2022),
  https://www.hino-global.com/corp/news/assets/1f350e73535af44c2a8c90c2f916eae2.pdf.
  3
    See Investigation Results by the Special Investigation Committee – Hino Press Release (August
  2, 2022),
  https://www.hino-global.com/corp/news/assets/e9e9de2a2a41bb0b5079f138f042b1a3.pdf.




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 would pause production of trucks in North America until the end of September 2021, due to

 “challenges in the required U.S. engine certification testing process for new model years of the

 A09C, J08E, and J05E engines for North America” which were used in at least the Hino 155, 195,

 238, 258, 268 and 338 models. 4 This conduct strongly suggests that Hino knew that its engines
 could not meet—and likely were not meeting—U.S. standards.

        6.      Broadly speaking, Defendants’ fraudulent scheme involved at least three practices.

  The first scheme was that during regulatory emissions testing, Defendants used materially

  different hardware in testing than what they used in Class Trucks sold and leased to customers.

  This is defined and described in more detail below as the “SCR Emissions Fraud.” In its March

  2022 press release, for example, Hino admitted that during an “emissions performance test” for its

  A05C (HC-SCR) medium-duty engine it had “replaced” the Selective Catalytic Reduction

  (“SCR”) system—a part in the emissions after-treatment system known colloquially as the second

  muffler—and “continued” the test “using the replaced” SCR. 5 Hino did this because the vehicle’s

  SCR system was not doing its job, and the vehicle’s “emissions performance” was

  “deteriorat[ing]” as a result of sulfur accumulation that adheres to the HC-SCR catalyst. Hino was

  not able to achieve desired or lawful emissions targets using the SCR system actually installed in

  the trucks sold and leased to the Class.

        7.      Other reports also indicate that during emissions testing of the A05C (HC-SCR)

 medium-duty engine and the A09C and E13C heavy-duty engines, Hino used “non-stock exhaust

 systems”—i.e., something other than the exhaust systems equipped in the production trucks—to




  4
    Production Pause at Hino’s North American Plants – Letter by Hino’s President & CEO Yoshio
  Shimo (December 23, 2020),
  https://www.hino-global.com/corp/for_investors/disclosure/Production%20Pause%20at%20Hino
  %27s%20North%20America%20Plants.pdf.
  5
    Misconduct concerning Engine Certification – Hino Press Release (March 4, 2022),
  https://www.hino-global.com/corp/news/assets/1f350e73535af44c2a8c90c2f916eae2.pdf (“Hino
  discovered that, in a durability test for emissions performance, which is one of the engine
  certification tests, the second muffler of the emissions after-treatment system was replaced during
  the test and the test was continued using the replaced muffler.”).




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 achieve the required test results. 6 Although the information Hino publicly provided about this fraud
 was for certification of engines for the Japanese market, similar technology and testing was used for

 the Hino engines sold in the United States. Hino knew that the Class Trucks were equipped with

 SCRs that would have failed the emissions testing without the Defendants’ manipulation, and that

 the Class Trucks were illegal to import or sell in the United States.

         8.      Defendants’ second scheme involved faking fuel economy test results and

 manipulating testing to yield false results that “appear[ed]” more “advantageous” than they actually

 were. As with the SCR Emissions Fraud, Hino admitted that it altered the fuel rate calibration value

 of the dynamometer panel (the device used for measuring the engine’s power) for certain trucks in

 certification testing in Japan, including those equipped with A09C (Urea-SCR) or E13C

 (Urea-SCR) heavy-duty engines, and with N04C (Urea-SCR) light-duty engines. The purpose of

 this manipulation was to obtain fuel economy readings that “appear advantageous” 7—i.e., to create

 the false appearance that the Class Trucks obtained better fuel economy than they actually do.

 Although Hino admitted to using this fuel economy trick only in the Japanese certification process,

 Hino engaged in the same or similar fraud for trucks sold in the United States. Indeed, one of the

 engines included in Hino’s admission—the A09C engine—was sold in the U.S. market but was

 subject to a “stop sale” in North America in 2020 and has not since been re-introduced for

 production. Based on information and belief, Defendants faked CO2 and fuel consumption

 certification test data for all Class Trucks.

         9.      The third issue relates to a defect in the Class Trucks’ diagnostic hardware and

 software which both fail to detect malfunctions in the emissions systems, resulting in the Class

 Trucks emitting more pollution than permitted by law and requiring unnecessary and expensive

 maintenance. Each Class Truck contains an onboard diagnostic system (“OBD”) that, when

  6
    See Julian Buckley, Hino Admits Falsifying Emissions Test Results, Diesel Progress (March 11,
  2022),
  https://www.dieselprogress.com/news/hino-admits-falsifying-emissions-test-results/8018869.arti
  cle.
  7
    See Misconduct concerning Engine Certification – Hino Press Release (March 4, 2022),
  https://www.hino-global.com/corp/news/assets/1f350e73535af44c2a8c90c2f916eae2.pdf.




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 functioning correctly, monitors emissions and detects emissions control system failures. United

 States emissions regulations require the OBD system to warn the driver when too much soot and

 particulate matter has accumulated in the diesel particulate filter (“DPF”) and to instruct the driver

 to drive on a highway or idle the vehicle to initiate a chemical filter-cleaning process that burns off

 the excess soot in the DPF. But in the Class Trucks, the OBD does not timely inform drivers to idle

 the Class Trucks to initiate cleaning. As a result, toxic soot and particulate matter clog the filter,

 releasing dangerous particulates into the air, reducing fuel economy, and requiring costly

 maintenance on the Class Trucks, often outside of the warranty.

         10.     Plaintiffs and the proposed Class seek to enjoin Defendants’ deceptive conduct and

 recover the economic damages they suffered as a result of Defendants’ fraudulent conduct.

  III.    PARTIES

          A.      Plaintiffs
         11.     Plaintiff Express Freight International (for purpose of this paragraph, “Plaintiff”)

 is in the freight business. Plaintiff is a Florida corporation with its principal place of business in

 Miami, Florida. Plaintiff owns two Hino trucks: a 2016 Hino 268 and a 2017 Hino 268. Plaintiff

 decided to purchase the Class Trucks based in part on Hino’s representations that they had high fuel

 economy. Plaintiff also purchased the Class Trucks under the assumption that they met or exceeded

 all regulatory emissions standards. Plaintiff purchased both Class Trucks new from TruckMax in

 Miami, Florida, and the prices Plaintiff paid were based on the value added by their purportedly

 high fuel efficiency and their ability to meet or exceed regulatory emissions requirements for their

 useful life. These representations, along with the advertised engine performance, were among the

 primary reasons Plaintiff chose the Class Trucks. At the time of purchase, Plaintiff did not know

 that its Class Trucks operated with materially worse fuel economy than was advertised. Plaintiff

 would not have purchased the Class Trucks, or would have paid less for them, had it known that

 they did not comply with emission standards; that their real-world fuel economy was significantly

 worse than advertised; and that their engines could not achieve the level of engine performance that

 was advertised. Plaintiff has suffered a concrete injury as a direct and proximate result of




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  Defendants’ misconduct, including having to pay for more fuel during its possession of the trucks

  than it would have had they achieved the represented fuel economy, and being inconvenienced by

  having to refill the fuel tanks more often.

          12.     Plaintiff EFI Export & Trading Corp. (for purpose of this paragraph, “Plaintiff”)

  is in the export business. Plaintiff is a Florida corporation with its principal place of business also in

  Florida. Plaintiff owns a 2020 Hino 268. Plaintiff decided to purchase the Class Truck based in part

  on Hino’s representations that it had high fuel economy. Plaintiff purchased the Class Truck under

  the assumption that it met or exceeded all EPA standards. Plaintiff purchased the Class Truck new

  from TruckMax in Miami, Florida, and the prices Plaintiff paid were based on the value added by

  its purported high fuel efficiency and its ability to meet or exceed regulatory emissions

  requirements for its useful life. These representations, along with the advertised engine

  performance were among the primary reasons Plaintiff chose the Class Truck. At the time of

  purchase, Plaintiff did not know that its Class Truck operated with materially worse fuel economy

  than was advertised. Plaintiff would not have purchased the Class Truck, or would have paid less

  for it, had it known that it did not comply with emission standards; that its real-world fuel economy

  was significantly worse than advertised; and that its engine could not achieve the level of engine

  performance that was advertised. Plaintiff has suffered a concrete injury as a direct and proximate

  result of Defendants’ misconduct, including having to pay for more fuel during its possession of the

  truck than it would have had it achieved the represented fuel economy, and being inconvenienced

  by having to refill the fuel tanks more often.

          13.     Plaintiff Marders (for the purpose of this paragraph, “Plaintiff”) is a plant nursey,

  landscaping, and tree moving business. Plaintiff is a New York business with its principal place of

  business located in Bridgehampton, New York. Plaintiff purchased 13 Hino trucks—(for the

  purpose this paragraph, the “Class Trucks”)—as follows: six Hino trucks purchased from Jukonski

  Truck Sales in Middletown, CT on or about December 27, 2016 (five trucks) and May 21, 2021

  (one truck); six Hino trucks purchased from Gabrielli Truck Sales in Medford, NY on or about:

  October 27, 2017, September 18, 2018, April 2, 2019, January 8, 2019, January 22, 2021, and




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  October 19, 2021; and one Hino truck purchased from Gabrielli Truck Sales in Jamaica, NY on or

  about May 10, 2017. Plaintiff decided to purchase the Class Trucks based in part on Hino’s

  representations that they had high fuel economy. Plaintiff purchased the Class Trucks under the

  assumption that they met or exceeded all regulatory emissions standards for their useful life. The

  prices Plaintiff paid for its Class Trucks were based on the value added by its purportedly high fuel

  efficiency and its ability to meet or exceed regulatory emissions requirements. These

  representations, along with the advertised engine performance, were among the primary reasons

  Plaintiff chose the Class Trucks. Indeed, Marders holds a strong commitment to the environment,

  including choosing to use organic practices in its landscaping work; the emissions performance was

  therefore important to Plaintiff’s decision to purchase the Class Trucks. At the time of purchase,

  Plaintiff did not know that its Class Trucks operated with materially worse fuel economy than was

  advertised. Plaintiff would not have purchased the Class Trucks, or would have paid less for them,

  had it known that they did not comply with emission standards; that their real-world fuel economy

  was significantly worse than advertised; and that their engines could not achieve the level of engine

  performance that was advertised. Plaintiff has suffered a concrete injury as a direct and proximate

  result of Defendants’ misconduct, including having to pay for more fuel during possession of the

  trucks than it would have had they achieved the represented fuel economy, and being

  inconvenienced by having to refill the fuel tanks more often.

         14.     Plaintiff Redlands Office Cleaning Solutions LLC (for purpose of this paragraph,

  “Plaintiff”) is an office cleaning business. Plaintiff is a California business with its principal place

  of business also in California. Plaintiff owns two Hino vehicles: a 2016 Hino 268 and a 2019 Hino

  268. Plaintiff decided to purchase the Class Vehicles based in part on Hino’s representations that

  they had high fuel economy. Plaintiff purchased the Class Vehicles under the assumption that they

  met or exceeded all EPA standards. Plaintiff purchased the 2016 Hino 268 used in or around May

  2021 from RWC Group in Phoenix, Arizona, and the 2019 Hino used in or around November 2021

  from Enterprise Truck Sales in Sante Fe Springs, California, as is commonly done in the industry,

  and the prices Plaintiff paid were based on the value added by its purported high fuel efficiency and




                                                      7
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  its ability to meet or exceed regulatory emissions requirements for its useful life. These

  representations, along with the advertised engine performance were among the primary reasons

  Plaintiff chose the Class Vehicles. At the time of purchase, Plaintiff did not know that its Class

  Vehicles operated with materially worse fuel economy than was advertised. Plaintiff’s owner, Alan

  Perez, who lives in Redlands, California, has noted that the Class Vehicles have poor fuel economy.

  Plaintiff would not have purchased the Class Vehicles, or would have paid less for them, had it

  known that they did not comply with emission standards; that their real-world fuel economy was

  significantly worse than advertised; and that their engines could not achieve the level of engine

  performance that was advertised. Plaintiff has suffered a concrete injury as a direct and proximate

  result of Defendants’ misconduct, including having to pay for more fuel during its possession of the

  vehicles than it would have had they achieved the represented fuel economy, and being

  inconvenienced by having to refill the fuel tanks more often.

            B.      Defendants
           15.     Hino Motors, Ltd. (“Hino Motors”) is a Japanese corporation with its principal

  place of business located in Tokyo, Japan. Hino Motors designs, develops, manufactures, and sells

  commercial vehicles—small, medium, and heavy-duty trucks and buses 8—as well as diesel

  engines. Toyota Motor Corporation owns a controlling interest, 50.1%, of Hino Motors. Hino

  Motors engineered, designed, developed, manufactured, and installed the engines in Hino trucks

  and exported these trucks with the knowledge and understanding that they would be sold

  throughout the United States, including in Florida. On information and belief, Hino Motors also

  reviewed and approved the designs, testing strategies, marketing, and advertising campaigns

  designed to sell the Hino-branded Class Trucks in Florida and throughout the United States.

           16.     Hino Motors Manufacturing U.S.A., Inc. (“HMM”) is a Delaware corporation

  with its principal place of business located in Michigan at 45501 Twelve Mile Road, Novi, MI

  48377. HMM is a wholly owned U.S. subsidiary of Hino Motors, and it engages in business,


  8
      See 49 U.S.C. § 523 et seq. for vehicle classification definitions.




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  including the manufacturing, R&D, sales, and parts distribution, in all 50 states. 9 HMM regularly
  submits applications to the EPA to obtain the certification necessary for the sale of Hino vehicles in

  the United States. 10 Hino Motors knew and approved of HMM’s submissions, which were

  necessary for Hino Motors to export its products for sale in the United States.

         17.     Hino Motors Sales U.S.A., Inc. (“Hino Trucks”) is a Delaware corporation with its

  principal place of business located in Michigan at 45501 12 Mile Road, Novi, MI 48377. Hino

  Trucks is in the business of distributing, marketing, and selling automobiles. Hino Motors is the

  parent corporation of Hino Trucks. Upon information and belief, Hino Motors reviewed and

  approved Hino Trucks’ advertising, sales strategies, engineering, purchasing, manufacturing, and

  marketing materials. Hino Trucks

         18.     Toyota Motor Corporation (“Toyota”) is a Japanese corporation with its principal

  place of business in Toyota City, Japan. Toyota is one of the largest automobile manufacturers in

  the world, and is in the business of designing, developing, manufacturing, and selling automobiles.

  Toyota is the parent corporation of Hino. Upon information and belief, Toyota reviewed and

  approved Hino’s vehicle designs, testing strategies, emissions compliance, and marketing

  materials.

  IV.     JURISDICTION AND VENUE
         19.     This Court has jurisdiction over this action pursuant to the Class Action Fairness Act

  (“CAFA”), 28 U.S.C. § 1332(d), because this is a proposed class action where at least one Class

  member is of diverse citizenship from one Defendant, there are more than 100 Class members, and

  the aggregate amount in controversy exceeds $5 million, exclusive of interest and costs.



  9
    Hino Celebrates Grand Opening of New Manufacturing Facility – Hino Press Release, About
  Hino Motors Manufacturing and Hino Trucks (Aug. 21, 2019),
  http://www.hmmusa.com/press20190821.html.
  10
     See, e.g., EPA’s Manufacturer-Run-In-Use Testing Program Data for Heavy-Duty Diesel
  Engines for model years 2009 through 2017,
  https://www.epa.gov/compliance-and-fuel-economy-data/manufacturer-run-use-testing-program-
  data-heavy-duty-diesel (Hino reporting heavy-duty diesel engine testing data to the EPA in years
  2009, 2012, 2013, 2014, 2015, and 2017).




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          20.     This Court has specific personal jurisdiction over Defendants pursuant to Florida

  Statute § 48.193(1)(a)(1) and (6). Defendants conduct substantial business in this District; some of

  the conduct giving rise to the Complaint took place in this District; and some of Plaintiffs’ claims

  arise out of Defendants operating, conducting, engaging in, or carrying on business in this state or

  having an office or agency in this state, and causing injury to property in this state arising out of

  Defendants’ acts and omissions outside this state.

          21.     The Defendants targeted consumers in each of the fifty states, including Florida,

  with advertising for the Class Trucks; purposefully directed their activities to the fifty states,

  including Florida; and controlled the design, distribution, and sale of the Class Trucks themselves.

  These contacts with the United States and Florida establish personal jurisdiction over each of the

  Defendants. This Court further has pendant personal jurisdiction over the claims of non-Florida

  Plaintiffs.

          22.     As explained below, each of the Defendants purposefully directed their activities

  toward the United States, including Florida, and availed themselves of the privilege of conducting

  activities in the United States and Florida. Although Toyota and Hino Motors are based in Japan,

  they are subject to the Court’s specific jurisdiction because they have pervasive contacts with the

  United States, including Florida, purposefully directed their activities to the United States,

  including Florida, and exert substantial control over their domestic subsidiaries, HMM and Hino

  Trucks.

          23.     Defendants’ contacts with the United States and Florida described herein were all in

  furtherance of marketing, selling, and leasing their vehicles in the United States. This marketing,

  selling, and leasing of the Class Trucks while concealing the emissions and fuel economy fraud

  related to those Trucks gives rise and relates to Plaintiffs’ claims. In particular, the Florida Plaintiffs

  and consumers suffered economic harm, loss, and damages in Florida that arise out of and relate to

  purchasing and driving Class Trucks in Florida.




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         24.     Defendants are in the business of designing, developing, manufacturing, marketing,

  and selling trucks and buses including in the United States and Florida. Defendants sold thousands

  of Hino trucks in the United States in 2021 alone. 11
         25.     Florida is a significant market for Defendants; there are at least 12 Hino-authorized

  dealerships in Florida that sell and lease Hino-branded vehicles. Defendants Hino Trucks and Hino

  Motors created or controlled the distribution network that brought Class Trucks, including

  Plaintiffs’, to the United States and Florida. During the relevant time period, Hino Trucks

  continuously registered to do business in Florida and has appointed a registered agent in Florida. It

  most recently renewed its registration by filing an annual report on March 29, 2022, with the

  Florida Department of State, Division of Corporations, identifying CT Corporation System in

  Plantation, Florida as its registered agent.

         26.     During the relevant period, Defendant Hino Motors manufactured Hino engines and

  vehicles in Japan and exported them for sale to the United States. During the relevant period,

  Defendant HMM assembled Hino vehicles in the United States as its plant in West Virginia. 12

  Defendant Hino Trucks, in turn, distributed, marketed, and sold the vehicles manufactured by Hino

  Motors and HMM within the United States, including in Florida. In so doing, Hino Trucks regularly

  transported and distributed for sale numerous Class Trucks to authorized dealerships in Florida to

  facilitate their sale to consumers in Florida.

         27.     For example, Defendants manufactured and then shipped Plaintiff Express Freight

  International’s and Plaintiff EFI Export & Trading Corp.’s trucks to TruckMax Hino, an authorized

  Hino dealership in Miami. These types of transactions involving the importing and distribution of

  Class Trucks with defective engines, for Defendants’ pecuniary benefit, occurred hundreds or




   11
      Hino, Consolidated Financial Highlights,
   https://www.hino-global.com/corp/for_investors/financial_highlights.html (reporting 8,510 units
   sold in North America in FY21).
   12
      HMM, Mineral Wells, WV Truck Manufacturing Milestones/Timeline,
   http://www.hmmusa.com/west-virginia.html




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  thousands of times during the relevant time period with respect to the sale of Class Trucks in

  Florida.

         28.      Defendants also established channels for marketing Class Trucks and providing

  regular advice to owners and lessees of Class Trucks, including Plaintiffs, in the United States and

  this District by licensing trademarks to dealerships and authorizing dealerships to sell Hino

  -branded trucks and buses.

         29.      The Class Trucks, including Plaintiffs’ trucks, were the subject of advertising

  campaigns that were intended to reach and did reach Florida. Those campaigns, created and paid

  for by Hino Trucks, advertised and promoted the fuel economy and emissions performance of the

  Class Trucks, and were controlled, directed, funded, and/or approved by its parent companies. Hino

  Trucks directed and approved the publication and distribution of these advertisements toward

  Florida consumers and Plaintiffs, with the intent and knowledge that they would reach consumers,

  including Class Members, in Florida, via print publications and the internet. None of these

  advertisements or marketing materials disclosed the emissions and fuel economy cheating in the

  Class Trucks.

         30.      Hino Trucks also marketed Hino vehicles in Florida by regularly attending annual

  trade shows in Florida. For example, Hino Trucks attended the Florida Nursery Growers &

  Landscape Associate conference in Orlando in 2013, 2014, 2016 to promote its trucks. It also

  attended and had a booth at the Florida Tow Show in Orlando in at least each year from 2011-2022,

  apart from 2020 when the show was held virtually. In many of these years, Hino Trucks marketed

  its trucks and engaged in a promotion where it raffled off a Hino truck live during the event. In

  2017, Hino Trucks presented a seminar at the Florida Tow Show in Orlando, about the “Insight

  Telematics” in its vehicles. Hino Trucks also entered into a partnership with Herc Rentals in Bonita

  Springs, Florida. Through this partnership, Herc Rentals offers Hinos for rent to consumers in

  Florida.

         31.      During the relevant time period, Hino Truck’s website (www.Hino.com) has been

  accessible and accessed in Florida by Class Members. This website, which is copyright to Hino




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  Trucks, solicited the sale of the Class Trucks and connected customers with Hino-authorized

  dealers in the United States, including in Florida.

         32.     During the relevant time period, Hino Motor’s website (www.Hino-global.com) in

  Japan has been accessible and accessed in Florida by Class Members. This website, which is

  copyright to Hino Motors, connected customers to Hino Trucks’ website, which solicited the sale of

  the Class Trucks and provided information about authorized dealers in the United States, including

  in Florida.

         33.     Hino’s network of authorized dealers offers maintenance and repair services, thus

  fostering an ongoing relationship between Defendants and their customers in Florida. As alleged

  above, there are at least 12 Hino-authorized dealerships in Florida.

         34.     Toyota purposely avails itself of markets in the United States, including Florida. For

  example, Toyota regularly submitted applications to obtain certification from the EPA that was

  necessary for the sale of Toyota vehicles in the United States, including Florida. Toyota

  manufactures vehicles that are imported and sold to the United States, including Florida.

         35.     Toyota Motor Corporation’s 2019 Annual Report acknowledges:
         The North American region is one of Toyota’s most significant markets. . . . In
         the North American region, of which the U.S. is the main market, Toyota has a
         wide product lineup (excluding large trucks and buses), and sold 2,745 thousand
         vehicles on a consolidated basis in fiscal 2019. This represents approximately
         31% of Toyota’s total unit sales on a consolidated basis. The U.S., in particular,
         is the largest market in the North American region, which accounts for 86% of
         the retail sales of Toyota in such region. Sales figures for fiscal 2019 were 97.8%
         of those in the prior fiscal year.

         36.     Defendants, directly or indirectly through agreements with affiliated financial

  service providers, such as their partners Toyota Commercial Finance and Hitachi Capital America

  Corp, assisted in financing for the Class Trucks throughout the United States and this District.

         37.     Hino Motors and Toyota, together with their U.S. subsidiaries, operate and hold

  themselves out to the public as unified brands of “Hino” and “Toyota” that cater to U.S. consumers

  and purposefully avail themselves of the United States market for Hino and Toyota-branded

  vehicles. As Hino itself describes, “under the HINO brand, we represent Toyota Group in the global



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  market for heavy-duty trucks and buses . . . We use the Toyota Production System to achieve

  continuing gains in productivity and in quality through our operations.” 13 Hino Motors similarly
  describes itself to be a “Toyota Group Company.” 14 Hino Trucks says the same thing. 15




         38.     For decades, Toyota and Hino Motors have continuously engaged in business in the

  United States, including Florida, by, among other things, controlling and interacting with their

  subsidiaries in the United States, including Florida. This business also included manufacturing

  Hino-branded vehicles and, together with the American subsidiaries, marketing, selling, and

  distributing those trucks in all 50 states and the District of Columbia (including Florida). HMM’s

  and Hino Trucks’ services on behalf of Hino Motors and Toyota are so important that Hino Motors

  and Toyota would perform those services themselves if the subsidiaries did not exist. In consumer

  transactions, like those with Plaintiffs, Hino’s unified brands and logos serve as HMM’s and Hino

  Trucks’ official seal and signature to consumers.




  13
     About Hino Motors – Hino & the Toyota Group,
  https://www.hino-global.com/corp/about_us/hinoandtoyota.html.
  14
     About Hino Motors – Who We Are, https://www.hino-global.com/corp/about_us/.
  15
     https://www.hino.com/




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          39.    Toyota, Hino, and their U.S. subsidiaries share key executives. For example, Hino

  Trucks announced a new management structure in 2017 that “[brought] together a formidable

  knowledge of manufacturing from Hino globally.” 16 This included the appointment of Yoshinori
  Noguchi as chairman of Hino Trucks. Mr. Noguchi was also the president and CEO of Hino Trucks.

  Prior to these appointments, Mr. Noguchi served on the board of Hino Trucks, while also serving as

  managing officer of Hino Motors in Japan. 17 Likewise, in 2017, Takashi Ono was appointed

  President of Hino Trucks, after previously holding “a number of domestic and international

  leadership positions over his 35-year career at Toyota Motor Corp.” Prior to the appointment, Mr.

  Ono served as the Senior General Manager of Hino Motors in Japan. 18

          40.    During the relevant time period, Hino Motors has registered and maintained

  registrations with the United States government for trademarks associated with its Hino-branded

  vehicles, which it uses to identify and distinguish its vehicles and parts in the United States and this

  District.

          41.    Venue is proper in this District under 28 U.S.C. § 1391(b) because a substantial part

  of the events and/or omissions giving rise to the claims occurred in this District, and because

  Defendants have caused harm to Class members residing in this District, including Plaintiffs

  Express Freight International and EFI Export & Trading Corp. Defendants have marketed,

  advertised, sold, and leased the Class Trucks from authorized dealers located in this District,

  including TruckMax Hino in Miami.



   16
      aftermarketNews Staff, Hino Motors Manufacturing U.S.A. Announces New Management
   Structure, aftermarketNews (April 7, 2017),
   https://www.aftermarketnews.com/hino-motors-manufacturing-u-s-announces-new-management
   -structure/.
   17
      aftermarketNews Staff, Yoshinori Noguchi Appointed President of Hino Trucks U.S.A.,
   aftermarketNews (April 5, 2013),
   https://www.aftermarketnews.com/yoshinori-noguchi-appointed-president-of-hino-trucks-u-s-a/.
   18
      aftermarketNews Staff, Hino Motors Manufacturing U.S.A. Announces New Management
   Structure, aftermarketNews (April 7, 2017),
   https://www.aftermarketnews.com/hino-motors-manufacturing-u-s-announces-new-management
   -structure/.




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  V.      FACTS COMMON TO ALL COUNTS

          A.      The Emissions and Fuel Economy Scheme in the Class Trucks

                  1.      Defendants deceived consumers, businesses, and regulators about the
                          true emissions of the Class Trucks.

         42.     Defendants’ Emissions and Fuel Economy Scheme involved three practices: (a)

  using parts in regulatory testing that were materially different from parts installed in Class Trucks

  sold and leased to customers (“SCR Emissions Fraud”); (b) tampering with testing instruments to

  make the Class Trucks appear more fuel efficient than they actually were (“Fuel Efficiency fraud”);

  and (c) installing diagnostic systems in the Class Trucks that failed to timely initiate diesel

  particulate filter cleaning (“Defective OBD Systems”).

                          a.      SCR Emissions Fraud: Hino altered the engines it tested, thereby
                                  falsifying emissions data for the Class Trucks.

         43.     Diesel engines have an inherent trade-off between power, fuel efficiency, and

  emissions: the greater the power and fuel efficiency, the higher the rate of emissions of harmful

  (and regulated) pollutants. Instead of using a spark plug to combust highly refined fuel with short

  hydrocarbon chains, as gasoline engines do (“spark ignition”), diesel engines compress a mist of

  liquid fuel with longer hydrocarbon chains and air to very high temperatures and pressures, which

  causes the fuel/air mixture to auto-ignite and combust (“compression ignition”). This more

  powerful compression by the pistons can produce greater engine torque (that is, more power).

  Diesel engines can do this both because they operate at higher compression ratios than gasoline

  engines and because diesel fuel contains more energy than gasoline.

         44.     But this greater energy and fuel efficiency comes at a cost: diesel produces dirtier

  and more dangerous emissions, including NOx, and a variety of nitrogen and oxygen chemical
  compounds (NO, NO2, etc.) that can form at high temperatures and pressures. Exposure to these

  pollutants has been linked with serious health dangers, including asthma attacks and other

  respiratory illnesses serious enough to send people to the hospital and NOx is a component of and

  precursor chemical to the formation of ozone (“smog”).




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         45.     Given the risks, these emissions are highly regulated, and minimizing NOx is
  paramount. Modern diesel trucks contain after-emissions treatment devices to reduce NOx

  emissions and comply with recent EPA emissions standards yet still produce almost half of all NOx

  emissions from on road vehicles. Most use a technology called “selective catalytic reduction”

  (“SCR”), a system that traps and treats exhaust gasses after they leave the engine but before they are

  released from the vehicle. In most systems, once the gasses are trapped, the SCR systems inject a

  urea solution (called diesel exhaust fluid or DEF) into the exhaust stream, which reacts chemically

  with the NOx, breaking it down into nitrogen, water, and small amounts of CO2. An image

  illustrating the workings of a urea after-emissions treatment device is excerpted below. 19




         46.     The efficiency of the emissions after-treatment system greatly affects the vehicle’s

  emissions levels. Vehicles with a well-functioning after-treatment system can reduce NOx
  emissions up to 90 percent.

         47.     Hino admits that the SCR system it used for regulatory testing of certain engines

  sold in Japan and the United States differed materially from the SCR systems it installed in trucks

  that it produced and sold to its customers. 20 Specifically, during a long-term durability test for

  emissions performance (one of the required engine certification tests), 21 Hino intentionally

   19
      Diesel Technology Forum, What is SCR?, Diesel Emissions Control System,
   https://www.dieselforum.org/about-clean-diesel/what-is-scr.
   20
      See Misconduct concerning Engine Certification – Hino Press Release (March 4, 2022),
   https://www.hino-global.com/corp/news/assets/1f350e73535af44c2a8c90c2f916eae2.pdf.
   21
      See 40 C.F.R. § 1066.410, “Dynamometer test procedure;” 40 C.F.R. § 86.1823-08, “Durability
   demonstration procedures for exhaust emissions;” see also EPA Vehicle Fuel and Emissions
   Testing, Dynamometer Drive Schedules,
   Footnote continued on next page



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  replaced the SCR system mid-test. “This change was made after learning that emissions

  performance would deteriorate” to the point where, in Hino’s own words, “the engine may not meet

  the regulatory emissions standards.” 22 Unsurprisingly, when Hino conducted emissions durability
  re-testing on one of its medium-duty engines, it found that “this engine may exceed regulatory

  emissions standards over the course of the vehicle’s full useful life.” 23 This is because sulfur

  accumulates in Defendants’ SCR systems and causes the SCR system to deteriorate prematurely.

  When that happens, the SCR can no longer convert the harmful chemicals as efficiently. In short, as

  the trucks sold to its customers are driven, its NOx emissions will continue to increase and

  eventually exceed regulatory standards.

         48.     As discussed above, Hino informed the Japanese Ministry of Land, Infrastructure,

  Transport and Tourism (“MLIT”) and the Ministry of Economy, Trade, and Industry (“METI”) that

  it had engaged in potential misconduct in connection with at least four of its engines, including

  engines that were sold in Japan and the United States.

         49.     MLIT ordered Hino to conduct a thorough investigation into its manipulation of

  emissions systems. MLIT also ordered Toyota, Isuzu, UD Trucks, and seven other heavy-duty truck

  manufacturers in Japan to launch their own investigations into the matter.

         50.     On March 18, 2022, MLIT conducted an administrative hearing prior to imposing

  sanctions on Hino Motors, Toyota, and Isuzu, noting that the latter two parties were alleged to have

  fraudulently sold buses in Japan that were equipped with the Hino engines in question. 24

         51.     MLIT found that Hino had falsified the engine performance and fuel consumption

  measurements in certification tests of at least four Hino engines, and notified Hino that it would


  Footnote continued from previous page
  https://www.epa.gov/vehicle-and-fuel-emissions-testing/dynamometer-drive-schedules.
  22
     Misconduct concerning Engine Certification – Hino Press Release (March 4, 2022),
  https://www.hino-global.com/corp/news/assets/1f350e73535af44c2a8c90c2f916eae2.pdf.
  23
     Misconduct concerning Engine Certification – Hino Press Release (March 4, 2022),
  https://www.hino-global.com/corp/news/assets/1f350e73535af44c2a8c90c2f916eae2.pdf.
  24
     MLIT Administrative Law Hearing (March 18, 2022),
  https://www.mlit.go.jp/report/press/jidosha08_hh_004384.html (open link in Chrome to use
  Google Translate for English translation).




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  revoke certification of these four engines. 25 As Chief Cabinet Secretary Hirokazu Matsuno said,
  “[t]he matter is extremely regrettable, as it greatly undermines the trust of automobile users.” 26

          52.       On March 25, 2022, Hino submitted a statement to MLIT, announcing recalls of

  vehicles containing three of the four engines at issue: the A05C (HC-SCR), the A09C (Urea SCR),

  and the E13C (Urea SCR). 27 It has not recalled its N04C (Urea-SCR) engine at this time.

          53.       Based on information and belief, Defendants engaged in the same or similar fraud

  vis-à-vis the Class Trucks sold in the United States. As one automotive reporter put it, the evidence

  suggests that “Hino supplied false numbers to the Japanese government, and also to US

  regulators.” 28

          54.       Notably, Hino’s public admissions of wrongdoing in Japan actually followed an

  internal audit of “potential issues regarding certification testing … of on-road engines for the North

  American market.” 29

          55.       This audit appears to have been conducted as a result of an inquiry by U.S.

  regulators. According to reporting, U.S. authorities asked Hino in 2016 if it had discovered any

  “falsified emissions data.” 30 At the time, Hino said “no.” 31


   25
      Kim Kyung-Hoon, Japan to Revoke Hino’s Engine Certification Over False Emissions Data
   Reuters (March 18, 2022),
   https://www.reuters.com/world/asia-pacific/japan-revoke-hinos-engine-certification-over-false-e
   missions-data-2022-03-18/.
   26
      Kim Kyung-Hoon, Japan Transport Ministry Raids Hino Motors After False Emissions Data,
   Shares Tumble, Reuters (March 7, 2022),
   https://www.reuters.com/markets/europe/japan-transport-ministry-raids-hino-motors-after-false-e
   missions-data-shares-2022-03-07/.
   27
      Notice Regarding Misconduct concerning Engine Certification – Letter by Hino’s President and
   Board Member Satoshi Ogiso (March 4, 2022),
   https://www.hino-global.com/corp/for_investors/disclosure/assets/9279ee7164b8033be06e87497
   ecf235e.pdf.
   28
      Thom Taylor, Toyota Trucks Admits Diesel Emissions Cheating, MotorBiscuit (March 8, 2022),
   https://www.motorbiscuit.com/toyota-trucks-admits-diesel-emissions-cheating/.
   29
      Misconduct concerning Engine Certification – Hino Press Release (March 4, 2022),
   https://www.hino-global.com/corp/news/assets/1f350e73535af44c2a8c90c2f916eae2.pdf.
   30
      Florin Amerlel, Toyota’s Hino Motors Has Falsified Emission Data Since 2016, Recalls Will
   Soon Start, Autorevolution.com (March 6, 2022),
   https://www.autoevolution.com/news/toyota-s-hino-motors-has-falsified-emissions-data-since-20
   16-recalls-will-start-soon-183276.html.




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         56.     Likewise, and in the same year, as the Special Investigation Committee

  investigation Hino’s misconduct concluded, Hino also engaged in “false reporting” to the MLIT

  following a request in 2016 to disclose any misconduct in emissions/fuel efficiency tests. 32
         57.     Despite these denials to U.S. and Japanese regulators, in 2018 U.S. authorities

  notified Hino that its trucks were not “up to standard.” 33 On or around this time, Hino conducted an

  audit and submitted an “internal report of [Hino’s] findings” to U.S. regulators. This report

  apparently did not satisfy the relevant American regulators, and “the U.S. Department of Justice

  commenced an investigation” after the report was delivered. 34

         58.     For obvious reasons, the Defendants’ scheme was both deceptive and illegal.

  Vehicles and engines used in regulatory testing must be materially identical to those sold. See 42

  U.S.C. § 7541(a)(3)(A) (explaining that it is prohibited “for any person to remove … any device or

  element of design installed on or in a motor vehicle or motor vehicle engine in compliance with

  regulations … prior to its sale and delivery to the ultimate purchaser”). 35 The EPA issued

  Certificates of Conformity (“COCs”) for the vehicles and engines as tested based on data provided

  by Hino, and not as ultimately sold and leased to customers. Accordingly, the vehicles affected by


  Footnote continued from previous page
  31
     Florin Amerlel, Toyota’s Hino Motors Has Falsified Emission Data Since 2016, Recalls Will
  Soon Start, Autorevolution.com (March 6, 2022),
  https://www.autoevolution.com/news/toyota-s-hino-motors-has-falsified-emissions-data-since-20
  16-recalls-will-start-soon-183276.html.
  32
     See Investigation Results by the Special Investigation Committee – Hino Press Release (August
  2, 2022),
  https://www.hino-global.com/corp/news/assets/e9e9de2a2a41bb0b5079f138f042b1a3.pdf.
  33
     Florin Amerlel, Toyota’s Hino Motors Has Falsified Emission Data Since 2016, Recalls Will
  Soon Start, Autorevolution.com (March 6, 2022),
  https://www.autoevolution.com/news/toyota-s-hino-motors-has-falsified-emissions-data-since-20
  16-recalls-will-start-soon-183276.html.
  34
     Misconduct concerning Engine Certification – Hino Press Release (March 4, 2022),
  https://www.hino-global.com/corp/news/assets/1f350e73535af44c2a8c90c2f916eae2.pdf.
  35
     The EPA’s Certificates of Conformity—which are required for every vehicle sold in the United
  States—also explain that the certificates cover “only those new motor vehicles or vehicle engines
  which conform, in all material respects, to the design specifications that apply” to the vehicles that
  were tested. Similarly, CARB’s Executive Orders—required for every vehicle sold in
  California—clearly state that “[p]roduction vehicles shall be in all material respects the same as
  those for which certification is granted.”




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  the SCR Emissions Fraud emitted more NOx than represented and—because they were not actually
  covered by legitimate COCs and Executive Orders—were illegal to import or sell.

           59.    Upon information and belief, this fraud affects at least the following Class Trucks:

  model year 2004 – 2021 Hino 155, 195, 258, 268, 338, M, L and XL and any other Hino and Toyota

  trucks containing the A05C, A09C, J05D, J05E or J08E diesel engines. As explained above,

  Plaintiffs’ investigation into the facts and scope of the fraud at issue remains ongoing; recent

  reports from the Special Investigation Committee support that the fraud likely extends back much

  further than Hino originally admitted, to at least as early as 2003. 36

                            b.     Fuel Efficiency Fraud: Hino altered testing instruments,
                                   resulting in inflated and false fuel economy results for the Class
                                   Trucks.

           60.    In addition to physically altering the trucks and engines it tested, Hino also

  fraudulently manipulated the fuel economy testing for Class Trucks to make them appear more fuel

  efficient in certification tests than they actually were.

           61.    For the vast majority of vehicles sold in the United States, fuel economy ratings are

  derived from testing conducted in-house by the vehicle manufacturer. Although conducted by the

  manufacturer, the testing must follow EPA-regulated procedures designed to ensure accuracy. In a

  small number of cases, the EPA conducts confirmatory testing to ensure the reported figures are

  accurate, but the agency otherwise accepts the manufacturer’s reporting and certification of its

  results. 37

           62.    For vehicles weighing more than 14,000 pounds—including the trucks at issue

  here—the EPA requires that manufacturers “demonstrate that [they] meet emissions standards

  using emission modeling.” 40 C.F.R. § 1037.501(a). A manufacturer may use “fuel-mapping” or

  powertrain testing. Id.


   36
      Investigation Results by the Special Investigation Committee – Hino Press Release (August 2,
   2022), https://www.hino-global.com/corp/news/assets/e9e9de2a2a41bb0b5079f138f042b1a3.pdf.
   37
      U.S. Department of Energy, Office of Energy Efficiency & Renewable Energy: How Vehicles
   are Tested, https://www.fueleconomy.gov/feg/how_tested.shtml.




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         63.     “Fuel mapping” determines fuel consumption and emissions by testing the engine at

  a variety of engine speeds and torque settings on an engine dynamometer. 40 C.F.R. § 1036.535

  (regulations regarding fuel mapping and fuel consumption at idle); 40 C.F.R. § 1036.540

  (regulations for highway cruising).

         64.     Powertrain testing involves testing an engine along with other hardware components

  such as a transmission or drive axle on an engine dynamometer. 40 C.F.R. § 1037.550

         65.     For the Class Trucks, while measuring fuel consumption in certification tests, Hino

  altered the fuel flow rate calibration value of the dynamometer panel to make it appear as though its

  trucks were more fuel efficient than they actually were. 38 Specifically, during the fuel consumption
  measurement for certification tests in Japan, Hino “commenc[ed] measurements of fuel

  consumption while the engine was idling before the fuel flow rate had stabilized” and adopted “the

  best figures from the results of multiple measurements.” 39 In Hino’s own words, “[t]his caused an

  altered value that was better than the actual value to be displayed on the fuel consumption meter,”

  and “Hino has confirmed through a technical review that the actual fuel economy performance [of

  the affected engines] does not meet the reported value.” 40

         66.     Again, while the specific admissions contained in Hino’s press release address the

  Japanese certification process, Plaintiffs understand that Hino engaged in the same or similar fraud

  for the Class Trucks sold in the United States.

         67.     Notably, one of the same engines that Hino admitted was the subject of false

  measurements for Japanese certifications tests—the A09C engine—was one of three engines that

  Hino voluntarily stopped using in North America in 2020. Hino formally paused the production of


  38
     Misconduct concerning Engine Certification – Hino Press Release (March 4, 2022),
  https://www.hino-global.com/corp/news/assets/1f350e73535af44c2a8c90c2f916eae2.pdf.
  39
     Submission of a statement to the Ministry of Land, Infrastructure, Transport and Tourism and
  misconduct concerning the “N04C (Urea-SCR))” light-duty engine – Hino Press Release (March
  25, 2022),
  https://www.hino-global.com/corp/news/assets/02e4daf5de0d8220ec977e893c3a59ce.pdf.
  40
     Misconduct concerning Engine Certification – Hino Press Release (March 4, 2022),
  https://www.hino-global.com/corp/news/assets/1f350e73535af44c2a8c90c2f916eae2.pdf.




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  all vehicles with A09C, J08E, and J05E engines in North America, purportedly following

  “challenges in the required U.S. engine certification testing processes for new model years of the

  A09C, J08E, and J05E engines for North America.” 41 Based on information and belief, including
  Hino’s admission that the Department of Justice is conducting an investigation regarding

  certification testing of trucks in the United States equipped with A09C engines, Hino engaged in the

  same falsifications of fuel economy testing values for vehicles equipped with A05C, A09C, JO8E,

  and JO5E engines in North America starting at least as early as 2004.

         68.     The facts and scope of cheating on emissions and fuel economy in Hino trucks are

  unfolding in real-time. Indeed, an August 2, 2022 report from a commissioned Special

  Investigation Committee, comprised of outside experts convened to investigate the misconduct

  concerning Hino’s engine certifications, found evidence of misconduct in Hino’s emissions and

  fuel efficiency testing dating back to at least 2003, which was significantly earlier than Hino’s

  previous public admissions. 42 As such, even in its public statements purporting to reveal its past

  misconduct, Hino continues to obscure the truth of its scheme.

         69.     This scheme was also both deceptive and illegal. It is illegal to import or sell engines

  and vehicles that do not comply with 42 U.S.C. § 7541(a). See 42 U.S.C. § 7522(a)(4)(A). Section

  7541(a) requires that the manufacturer’s vehicles and engines, when properly maintained and used,

  meet air pollution emission standards. But the fuel economy data—and corresponding CO2

  emissions data—that Hino submitted to the regulators regarding the Class Trucks was false, and the

  Class Trucks’ actual CO2 emissions did not meet air pollution emissions standards. See infra,

  V.A.3, a-b.



  41
     Production Pause at Hino’s North American Plants – Letter by Hino’s President & CEO Yoshio
  Shimo (December 23, 2020),
  https://www.hino-global.com/corp/for_investors/disclosure/Production%20Pause%20at%20Hino
  %27s%20North%20America%20Plants.pdf.;
  https://www.hino-global.com/corp/news/assets/1f350e73535af44c2a8c90c2f916eae2.pdf.
  42
     See Investigation Results by the Special Investigation Committee – Hino Press Release (August
  2, 2022),
  https://www.hino-global.com/corp/news/assets/e9e9de2a2a41bb0b5079f138f042b1a3.pdf.




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          70.     It is also illegal to import or sell engines or vehicles that are not “covered by []

  certificate[s] of conformity.” See 42 U.S.C. § 7522(a)(1). The EPA issued COCs for the Class

  Trucks based, in part, on Hino’s falsified test results regarding fuel economy and CO2 emissions. In
  other words, the COCs were issued for vehicles with different SCR systems and based on falsified

  emissions and fuel economy data. The actual Class Trucks were therefore not covered by legitimate

  COCs and Executive Orders and were illegal to import or sell.

          71.     Hino’s fraudulent reporting of its trucks’ fuel economy rating and corresponding

  CO2 emissions cost Class members thousands of dollars in extra fuel costs over the course of the

  trucks’ lifespans. Many Class members are small business owners who use Hino trucks and buses

  as an integral part of their livelihood.

                           c.      The Class Trucks contain defective OBD systems that lead to
                                   excess emissions and costly, avoidable repairs.

          72.     Diesel engines produce a variety of particles during combustion of the fuel/air mix

  due to incomplete combustion. Diesel particulate matter resulting from the incomplete combustion

  of diesel fuel produces particulate matter. Particulate matter emissions from diesel engines worsen

  the particulate matter pollution in the air, which are harmful to human health and reduce visibility.

          73.     A diesel particulate filter (“DPF”) is a device designed to remove diesel particulate

  matter from the exhaust gas of a diesel engine. Under normal driving conditions, particulate matter

  is stored in the DPF, and then are burned off in the DPF during operation at high temperatures or

  through the use of a process called “regeneration.”

          74.     When functioning properly, a DPF burns off excess particles during normal driving.

  This often occurs during highway driving, because vehicles achieve the heat necessary to burn off

  the particulate matter from the DPF. When vehicles are not driven on the highway for some period

  of time, the catalyst does not get hot enough to burn the particulate matter, so it accumulates in the

  DPF.

          75.     The OBD system is designed and required by law to detect that the filter is clogged

  or in danger of imminently becoming clogged. A clogged DPF can result in dangerous pollutants




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  spewing into the air. When the vehicle senses the filter is almost clogged, the OBD is supposed to

  instruct the driver to pull over and idle the vehicle. See, e.g., 13 CCR § 1968.2. When in an idle

  state, the OBD should then activate the emissions control system so it injects diesel fuel upstream

  from the filter to heat the filter to burn off the excess particulate matter.

             76.   In the Class Trucks, however, this does not happen. The OBD system does not

  properly alert drivers that the DPF is in danger of being clogged. Therefore, it does not timely

  instruct drivers to pull over and idle their Class Trucks or initiate the cleaning process in an idle

  state.

             77.   As a result, the Class Trucks’ DPFs get clogged far more frequently than they

  should. When the DPFs get clogged, two things happen. First, the toxic particulates that should be

  burned off are released into the air through the exhaust system and/or increase pressure on the

  engine, reducing fuel economy, polluting the environment, and damaging other hardware in the

  Class Trucks. Second, the Class Trucks go into an emergency mode that does not permit them to be

  driven at highway speed. Servicing is then required to unclog the DPF. This often occurs outside of

  warranty, meaning that Class Members are forced to pay out of pocket for otherwise avoidable

  repairs.

                   2.      Hino and Toyota knew for years about fraud in connection with the
                           emissions systems and fuel economy performance in the Class Trucks.

             78.   Based on information and belief, Hino’s and Toyota’s senior management were

  aware of these frauds well before they both separately admitted, on March 4, 2022, to “identifying

  potential issues regarding certification testing to determine the emissions performance of on-road

  engines for the North American market.” 43




   43
      Notice Regarding Misconduct concerning Engine Certification – Letter by Hino’s President and
   Board Member Satoshi Ogiso (March 4, 2022),
   https://www.hino-global.com/corp/for_investors/disclosure/assets/9279ee7164b8033be06e87497
   ecf235e.pdf.




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         79.     As discussed above, in 2016, U.S. regulators reached out to Hino and asked if it had

  discovered “falsified emissions data.” 44 Hino said “no.” Id. In 2018, U.S. regulators again reached
  out to Hino, informing Hino that “its trucks aren’t up to standard.” 45 Hino and Toyota’s senior

  managers were aware of, and involved in, discussions related to the regulators’ determination.

  Finally, and also as discussed above, the U.S. Department of Justice had begun an investigation into

  Toyota’s and Hino’s emissions cheating on or around this time. On information and belief, Toyota

  and Hino senior management were aware of this investigation.

         80.     Four years after U.S. regulators questioned Hino’s testing and emissions

  verifications, Hino announced that it would formally pause its vehicle production in North America

  on December 23, 2020. 46 Based on information and belief, Toyota advised Hino to initiate this

  pause in light of the Department of Justice investigation. This was not a decision made because U.S.

  emissions standards had suddenly become too difficult for Hino to meet. Hino for years had not met

  these standards. The Board made this clear when it announced that the decision to pause production

  was motivated by changes to the certification testing process, rather than new emissions and fuel

  efficiency standards. As Hino explained in its letter to investors, “following challenges in the

  required U.S. engine certification testing process for new model years of A09C, J08E, and J05E

  engines for North America,” 47 Hino would suspend vehicle production in the U.S. and Canada and

  44
     Florin Amerlel, Toyota’s Hino Motors Has Falsified Emission Data Since 2016, Recalls Will
  Soon Start, Autorevolution.com (March 6, 2022),
  https://www.autoevolution.com/news/toyota-s-hino-motors-has-falsified-emissions-data-since-20
  16-recalls-will-start-soon-183276.html.
  45
     Florin Amerlel, Toyota’s Hino Motors Has Falsified Emission Data Since 2016, Recalls Will
  Soon Start, Autorevolution.com (March 6, 2022),
  https://www.autoevolution.com/news/toyota-s-hino-motors-has-falsified-emissions-data-since-20
  16-recalls-will-start-soon-183276.html.
  46
     Production Pause at Hino’s North American Plants – Letter by Hino’s President & CEO Yoshio
  Shimo (December 23, 2020),
  https://www.hino-global.com/corp/for_investors/disclosure/Production%20Pause%20at%20Hino
  %27s%20North%20America%20Plants.pdf (Hino’s disclosure communicating this information
  to its investors states that “the Board of Directors of Hino . . . approved a formal pause of vehicle
  production at its plants in its consolidated subsidiaries in North America . . . until the end of
  September 2021.” At the time, Hino and Toyota shared a Board member, Mr. Shigeki Terashi).
  47
     Production Pause at Hino’s North American Plants – Letter by Hino’s President & CEO Yoshio
  Shimo (December 23, 2020),
  Footnote continued on next page



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  postpone sales of 2021 model year vehicles. Initially, Hino forecasted resuming production and

  sales in October 2021. However, Hino was unable to obtain certification with its own engine

  systems, and was instead forced to use a competitor engine manufacturer, Cummins Inc., to equip

  Hino’s vehicles in North America. 48
          81.     In other words, Hino knew at least as of 2018 that certain Class Trucks were not

  compliant with emission and fuel efficiency standards, and was put on notice of potential problems

  by 2016 at the latest. Based on information and belief, Hino did not inform the EPA, CARB, or its

  customers that the Class Trucks were not compliant with emission and fuel efficiency standards.

                   3.     Hino—like all vehicle manufacturers—was subject to specific
                          regulations governing fleet-wide CO2 emissions and vehicle-specific
                          NOx emissions.
          82.     Hino cheated on emissions for a reason. As detailed further herein, both emissions

  and fuel economy are material to consumers and businesses—including Plaintiffs and the Classes.

  They are also highly regulated.

                          a.      Fleet-wide CO2 regulations
          83.     California, one of the leaders in vehicle emissions regulations, implemented new

  greenhouse gas regulations in 2006 that took effect in 2009. These regulations, like the federal rules

  that followed, set a ceiling for a manufacturer’s fleet-wide average emissions, and govern all light-,

  medium-, and heavy-duty vehicles sold in California, one of Hino’s biggest markets and partners in

  the United States. 49

          84.     Federal fleet-wide standards for CO2 emissions and average fuel economy followed

  suit. New regulations affecting model year 2012-2015 vehicles were implemented in 2011,




   Footnote continued from previous page
   https://www.hino-global.com/corp/for_investors/disclosure/Production%20Pause%20at%20Hino
   %27s%20North%20America%20Plants.pdf.
   48
      Hino Trucks and Cummins Announce Medium and Heavy-Duty Engine Offering (March 12,
   2021): https://www.hino.com/press20210312.html.
   49
      See Hino to Join Hydrogen Demo Study in California Ports – Hino Press Release (March 9,
   2022), https://www.hino.com/press20220309.html.




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  beginning with 2012 model years, and increased in stringency through model year 2016. 50 New,
  even more stringent standards went into effect for model year 2017.

         85.     The EPA set CO2 emissions standards for light- and heavy-duty vehicles under

  section 202(a) of the Clean Air Act. Under these standards, by model year 2017, medium-duty

  vocational diesel vehicles were required to meet an estimated combined average emissions level of

  225 grams/mile of CO2. NHTSA set fleet-wide Corporate Average Fuel Economy (“CAFE”)

  standards for vocational diesel vehicles under 49 U.S.C. § 32902. NHTSA’s standards required

  manufacturers to meet an estimated combined average fuel economy level of 22.1 miles per gallon

  (“MPG”) by model year 2017.

         86.     Defendants knew that their fleet of vehicles had to meet these standards to be sold in

  the United States, and were equally aware that fuel consumption (MPG ratings) and emissions are

  important factors for consumers and businesses choosing a vehicle to purchase or lease. Rather than

  meeting these standards through legitimate means, however, Defendants cheated on the emissions

  tests in the Class Trucks to feign compliance and cater to consumer demand. They then misled

  consumers and businesses by claiming that the Class Trucks consumed less fuel and emitted less

  NOx, CO2, and other pollutants than they actually do under normal driving conditions.

                          b.     Effect on Fuel Economy Ratings
         87.     Hino’s deception had a direct impact on the Class Trucks’ fuel economy ratings.

         88.     A vehicle’s fuel economy is measured by testing as to the time it takes the engine to

  consume a certain volume of fuel. The EPA sets out clear guidelines on how to measure fuel

  economy using a dynamometer. As explained above, during the regulatory testing cycles, the

  engine and transmission are connected to an engine dynamometer, which can be adjusted to

  simulate a variety of operational conditions. A hose is connected to the tailpipe to collect and

  measure engine exhaust. The amount of carbon in the exhaust is used to calculate the amount of fuel


  50
     See, e.g., Federal Register Vol. 75 p. 25324 (May 7, 2010),
  https://www.gpo.gov/fdsys/pkg/FR-2010-05-07/pdf/2010-8159.pdf (summarizing new
  regulations).




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  that was burned. 51 Manufacturers calculate the amount of fuel consumed, in part, by measuring the
  engine’s power (speed and torque) in relation to the amount of fuel it has depleted. 52

         89.      Manufactures test their own vehicles in a controlled laboratory setting and report the

  fuel economy results to the EPA. The EPA reviews the results and confirms about 15-20 percent of

  them using their own tests. 53

         90.      This gave Hino the opportunity to, as it admitted, alter the fuel flow calibration rate

  of the dynamometer panel to make it appear that Class Trucks had a higher fuel economy than they

  actually did.

                          c.       NOx regulations
         91.      NOx is a dangerous set of pollutants (NO, NO2, etc.) linked with serious health risks

  and climate change. Congress first began regulating NOx as a tailpipe emission with the passage of

  the Clean Air Act in 1970. The standards went into effect in 1975 focusing on NOx emissions of

  passenger and light-duty cars. In 1990, the CAA was amended to set a higher standard—84 percent

  reduction—in emissions of all heavy-duty diesel engines effective that same year and a 33 percent

  reduction in NOx emissions by 1998.

         92.      In 2001, new emissions standards were adopted, requiring a further 90 – 95 percent

  reduction in emissions by model year 2010. The EPA has since promulgated two phases of

  Greenhouse Gas (“GHG”) standards for medium- and heavy-duty trucks for model years

  2014-2027, and which govern most of the Class Trucks. The GHG standards apply in two ways.

  First, as with CO2 regulations, a manufacturer’s entire fleet must not exceed a specific average.

  Second, each individual vehicle must also be certified to emit no more NOx (among other




   51
      U.S. Department of Energy, How Vehicles Are Tested,
   https://www.fueleconomy.gov/feg/how_tested.shtml.
   52
      See Federal Register Vol. 81, No. 206 (Oct. 25, 2016) at 74025.
   53
      U.S. Department of Energy, How Vehicles Are Tested,
   https://www.fueleconomy.gov/feg/how_tested.shtml.




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  pollutants) than is legally allowed. For example, the table below demonstrates the useful life

  emissions standards for model year 2017 vocational vehicles. 54




         93.     Hino represented to the U.S. regulators that its vehicles’ NOx emissions did not

  exceed the limits set by the GHG standard bins to which they were certified. This was false. As a

  result, the Certificates of Conformity and Executive Orders covering these vehicles were

  fraudulently obtained, and the vehicles were not legal to sell in the United States.

          B.      Defendants’ advertising featured inflated fuel economy ratings, false promises
                  of environmental friendliness, and misrepresentations of high engine
                  performance.
         94.     To many trucking businesses and consumers, including Plaintiffs, fuel economy,

  engine performance, and environmental friendliness are important factors in their decision to

  purchase or lease a vehicle. Defendants targeted these preferences in their misleading advertising

  and other consumer-facing representations and omissions about the Class Trucks.

         95.     Defendants advertised the Class Trucks and otherwise supplied consumers and

  businesses with misinformation about them—misleadingly emphasizing fuel efficiency,

  environmental cleanliness, and/or engine performance—through various public-facing channels.

         96.     Hino advertises itself as a sustainable, environmentally-minded corporation. Its

  corporate mission is “[t]o make the world a better place to live by helping people and goods get

  where they need to go—safely, economically and with environmental responsibility—while

  focusing on sustainable development.” 55 Hino’s Message from the President, Mr. Satoshi Ogiso,

  54
     EPA Office of Transportation and Air Quality Regulatory Announcement, EPA and NHTSA
  Adopt First-Ever Program to Reduce Greenhouse Gas Emissions and Improve Fuel Efficiency of
  Medium- and Heavy-Duty Vehicles, EPA-420-F-11-031,
  https://nepis.epa.gov/Exe/ZyPDF.cgi/P100BOT1.PDF?Dockey=P100BOT1.PDF.
  55
     Hino, Message from the President, https://www.hino-global.com/corp/about_us/message.html
  Footnote continued on next page



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  promised that “Hino is also playing its part to reduce the environmental burden of transportation

  and logistics, [including by] reducing environmental impact over the entire vehicle lifecycle.” 56
  Hino even describes its own logo as a symbolization of “the balance between Hino’s advanced

  technologies and the environment.” These representations do not reflect reality, in which Hino

  cheated on emissions standards and sold engines that emitted environmentally-unfriendly amounts

  of pollutants.

          97.        Hino also frequently touts fuel economy. Its website advertises the Hino 268 (one of

  the Class Trucks with a J08E engine) as “providing the lowest cost of ownership in its class” due to

  its “outstanding fuel economy.” 57 On the same webpage, it goes on to flaunt that “Hino engines

  deliver dependable, fuel efficient power.” After describing its technology, including the SCR

  system, Hino represents that “[t]he result is fuel-efficient compliance with 2010 EPA

  regulations.” 58




   Footnote continued from previous page
   (emphasis added).
   56
      Hino, Message from the President, https://www.hino-global.com/corp/about_us/message.html
   (emphasis added).
   57
      Hino 268 Online Brochure, https://hino.com/phone/hino-medium-duty-model-268.html.
   58
      Hino 268 Online Brochure, https://hino.com/phone/hino-medium-duty-model-268.html.




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         98.     Hino’s website boasts that its SCR system “not only meets the EPA 2010 Standards,

  it produces gains in fuel economy and it does so without the need for carbon credits!” 59




  59
     Hino, Conventional Trucks Overview,
  https://www.hino.com/hino-trucks-conventional.html#overview.




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           99.    In explaining the performance of its SCR system on its website, Hino claims: “The

  Urea SCR (use of urea water) reduces exhaust gas emissions. It injects urea water to the exhaust gas

  to decompose harmful nitrogen oxide into nitrogen and water.” 60 Hino’s public admissions of
  emission cheating demonstrate this representation is false, at least with respect to Hino’s engines,

  which were not breaking down “harmful nitrogen oxide” to the extent represented and required by

  law.




  60
       Hino 200 Series Online Brochure, https://www.hino-global.com/products/trucks/hino200/.




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         100.    Hino also grossly overstates its environmental initiatives for creating technologies

  in its vehicles to reduce environmental impact. In an undated brochure highlighting Hino’s

  environmental activities, Hino claims that, “[r]ecognizing that technologies designed to lower fuel

  consumption can make a significant contribution to reducing CO2 emissions, Hino Motors
  enhanced the performance of its vehicles with eco-driving technologies that encourage low




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  fuel-consumption practices by drivers.” 61 It goes on to represent that “Hino Motors reduced
  emissions of NOx and PM [particulate matter] by combining its DPR System that has enhanced PM

  filtering with its Diesel Exhaust Fluid (DEF) Selective Catalytic Reduction (SCR) system that is

  designed to reduce NOx to harmless water and nitrogen.” 62




         101.    Hino specifically touts its engine performance and fuel economy, including for the

  A09C, for which it has admitted it falsified its engine performance data “in the measurement of fuel

  economy performance.” 63 Hino makes the same admissions for the J08E and J05E engines, yet its

  61
     Hino, Highlights of Environmental Activities: Products that Reduce Environmental Impact –
  Online Brochure,
  https://hino.dga.jp/i-viewer_s/?p_no=3&m_p=4&p_id=300160&file_name=https%3A%2F%2F
  www.hino-global.com%2Fcorp%2Fcsr%2Fbacknumber%2Fparts%2Fpdf%2F2010%2Fenv_01.
  pdf&t=Highlights%C2%A0of%C2%A0Environmental%C2%A0Activities%3A&kw=selective+
  catalytic+reduction+system.
  62
     Hino, Highlights of Environmental Activities: Products that Reduce Environmental Impact –
  Online Brochure,
  https://hino.dga.jp/i-viewer_s/?p_no=3&m_p=4&p_id=300160&file_name=https%3A%2F%2F
  www.hino-global.com%2Fcorp%2Fcsr%2Fbacknumber%2Fparts%2Fpdf%2F2010%2Fenv_01.
  pdf&t=Highlights%C2%A0of%C2%A0Environmental%C2%A0Activities%3A&kw=selective+
  catalytic+reduction+system.
  63
     Notice Regarding Misconduct concerning Engine Certification – Letter by Hino’s President and
  Board Member Satoshi Ogiso (March 4, 2022),
  https://www.hino-global.com/corp/for_investors/disclosure/assets/9279ee7164b8033be06e87497
  ecf235e.pdf.




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  website represented, and continues to represent, that those engines “maintain optimal power and

  high fuel economy performance under any driving conditions: 64




  64
       Hino 500 Series Online Brochure, https://www.hino-global.com/products/trucks/hino500/.




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          102.    Furthermore, every Hino press release posted on its website ends by noting that

  Hino sells “vehicles with low total cost of ownership, superior fuel economy, [and] unmatched

  reliability.”




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         103.    A March 7, 2018 Press Release at the launch of the Hino XL Series represents that

  “The Hino XL7 and XL8 models are powered by Hino’s legendary A09 turbo diesel 8.9-liter inline

  6-cylinder engine boasting a B10 life of 1,000,000,000 miles.” 65 B10 is a span of time for which
  Hino’s trucks would be expected, as represented, to meet regulatory certifications.

         104.    As these and other marketing materials reflect, Hino sought to align its products

  with businesses that are centered around driving many miles, often hauling heavy loads, and are

  thus highly conscious of their vehicle’s fuel consumption. For these businesses, the fuel efficiency

  of their trucks and buses can dramatically affect their business margins. Hino also sought to cater to

  increasingly eco-conscious businesses and consumers and to align its brand—including the Class

  Trucks—with a commitment to the environment and efficient use of resources. As Hino knows and

  advertises, for its customers “[e]very delivery makes a difference.” 66




  65
     The All-New HINO XL Series: Hino Trucks Enters into Class 8 with Diligence – Hino Press
  Release (March 7, 2018), http://www.hmmusa.com/press20180307.html.
  66
     Hino (@HINOTRUCKSUSA) Twitter (April 22, 2018),
  https://twitter.com/HINOTRUCKSUSA.




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         105.    In an April 27, 2021 press release, Hino expressed its purported commitment to

  contribute to environmental sustainability: “Hino positions solving environmental issues as an

  important task for businesses. With the aim of realizing carbon neutrality, we pursue all kinds of

  measures in collaboration with government and related sectors, to thoroughly reduce CO2 over the
  entire life cycle from the perspectives of customers and society.” 67 It goes on to describe one of its

  six environmental initiatives, titled the “New Vehicle Zero CO2 Emissions Challenge,” assuring

  that it will improve its diesel engines’ fuel efficiency. “Hino will further refine the environmental

  technology for its diesel engines (including hybrid technologies), which have gained the trust of

  customers worldwide and represent one of Hino’s strengths.” 68

         106.    As described throughout this Complaint, these statements and those detailed above

  about Hino and the Class Trucks’ emissions and fuel economy were not true.

                                                   ***

         107.    Defendants’ deceptive actions harmed Plaintiffs and the Classes. As a result of

  Defendants’ unfair, deceptive, and/or fraudulent business practices, and failure to disclose that the

  Class Trucks were designed to mislead consumers and businesses about their true emissions levels

  and fuel economy, owners and lessees of the Class Trucks have suffered losses in money and/or

  property. Plaintiffs did not receive the vehicles they paid for and reasonably expected to receive

  and, as a result have suffered damages, including but not limited to payment for additional fuel

  costs required by the reduced fuel economy performance in their Class Trucks.

   VI.    CLASS ACTION ALLEGATIONS
         108.    Plaintiffs bring this lawsuit as a class action pursuant to Federal Rules of Civil

  Procedure 23(a), (b)(1), (b)(2), (b)(3), and/or (c)(4), on behalf of themselves and all others similarly

  situated as members of the following Nationwide Class and State Classes (collectively, the

  “Classes”). The Class Trucks implicated by this Complaint include at least all model year 2004–

   67
      Hino Environmental Milestone 2030 – Press Release (April 27, 2021),
   https://www.hino-global.com/corp/news/2021/20210427-002905.html.
   68
      Hino Environmental Milestone 2030 – Press Release (April 27, 2021),
   https://www.hino-global.com/corp/news/2021/20210427-002905.html.




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  2021 Hino diesel trucks sold in the United States and all 2004 - 2021 Toyota trucks sold in the

  United States that contain the A05C, A09C, E13C, NO4C, J05D, J05E or J08E diesel engine.

          109.    The proposed Nationwide Class includes all persons and entities that purchased or

  leased a Class Truck in the United States, including its territories.

          110.    Plaintiffs also propose separate State Classes for all fifty states, each of which

  includes all persons and entities that purchased or leased a Class Truck in that state.

          111.    Excluded from the Classes are:

                   a.      Defendants’ officers, directors and employees and participants in the

   Porsche Associate Lease Program; Defendants’ affiliates and affiliates’ officers, directors and

   employees; Defendants’ distributors and distributors’ officers, directors and employees; and

                   b.      Judicial officers and their immediate family members and associated court

   staff assigned to this case.

          112.    Plaintiffs reserve the right to amend the Class definitions if discovery and further

  investigation reveal that any Class should be expanded, reduced, divided into additional subclasses

  under Rule 23(c)(5), or modified in any other way.

          113.    Certification of Plaintiffs’ claims for class-wide treatment is appropriate because

  Plaintiffs can prove the elements of their claims on a class-wide basis using the same evidence as

  would be used in individual actions alleging the same claims. This action may also, in the Court’s

  discretion, be maintained as a class action with respect to particular common issues.

          114.    This action has been brought and may be properly maintained on behalf of each of

  the Classes proposed herein under Federal Rule of Civil Procedure 23 and satisfies the numerosity,

  commonality, typicality, adequacy, predominance, and superiority requirements of its provisions.

           A.      Numerosity: Federal Rule of Civil Procedure 23(a)(1)
          115.    The members of the Class are so numerous and geographically dispersed that

  individual joinder of all Class members is impracticable. Plaintiffs are informed and believe that

  there are tens of thousands of members of the Class, and multiple members in each State Class. The

  precise number and identities of Nationwide Class and State Class members may be ascertained




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  from Defendants’ records and motor vehicle regulatory data. Class members may be notified of the

  pendency of this action by recognized, Court-approved notice dissemination methods, which may

  include U.S. mail, electronic mail, Internet postings, and/or published notice.

          B.      Commonality and Predominance: Federal Rule of Civil Procedure 23(a)(2)
                  and 23(b)(3)

         116.    This action involves common questions of law and fact, which predominate over

  any questions affecting individual Class members, including, without limitation:

                  a.      Whether Defendants engaged in the conduct alleged herein;

                  b.      Whether Defendants designed, advertised, marketed, distributed, leased,

  sold, or otherwise placed Class Trucks into the stream of commerce in the United States;

                  c.      Whether Defendants owed a duty to disclose accurate emissions and fuel

  economy performance of the Class Trucks;

                  d.      Whether Defendants misrepresented the Class Trucks’ emissions and fuel

  economy;

                  e.      Whether Defendants’ conduct violates consumer protection statutes,

  warranty laws, and other laws as asserted herein;

                  f.      Whether Plaintiffs and the other Class members are entitled to equitable

  relief, including, but not limited to, restitution or injunctive relief; and

                  g.      Whether Plaintiffs and the other Class members are entitled to damages and

  other monetary relief and, if so, in what amount.

          C.      Typicality: Federal Rule of Civil Procedure 23(a)(3)
         117.    Plaintiffs’ claims are typical of the claims of the Class members whom they seek to

  represent under Fed. R. Civ. P. 23(a)(3) because Plaintiffs and each Class member purchased or

  leased a Class Truck and were comparably injured through Defendants’ wrongful conduct as

  described above. Plaintiffs and the other Class members suffered damages as a direct proximate

  result of the same wrongful practices by Defendants. Plaintiffs’ claims arise from the same




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  practices and courses of conduct that give rise to the claims of the other Class members. Plaintiffs’

  claims are based upon the same legal theories as the claims of the other Class members.

           D.      Adequacy: Federal Rule of Civil Procedure 23(a)(4)
          118.    Plaintiffs will fairly and adequately represent and protect the interests of the Class

  members as required by Fed. R. Civ. P. 23(a)(4). Plaintiffs’ interests do not conflict with the

  interests of the Class members. Plaintiffs have retained counsel competent and experienced in

  complex class action litigation, including vehicle emissions litigation and other consumer

  protection litigation. Plaintiffs intend to prosecute this action vigorously. Neither Plaintiffs nor their

  counsel have interests that conflict with the interests of the other Class members. Therefore, the

  interests of the Class members will be fairly and adequately protected.

           E.      Declaratory and Injunctive Relief: Federal Rule of Civil Procedure 23(b)(2)
          119.    Defendants have acted or refused to act on grounds generally applicable to Plaintiffs

  and the other members of the Class, thereby making appropriate final injunctive relief and

  declaratory relief, as described below, with respect to the Class as a whole.

           F.      Superiority: Federal Rule of Civil Procedure 23(b)(3)
          120.    A class action is superior to any other available means for the fair and efficient

  adjudication of this controversy, and no unusual difficulties are likely to be encountered in its

  management. The damages or other financial detriment suffered by Plaintiffs and the other Class

  members are relatively small compared to the burden and expense that would be required to

  individually litigate their claims against Defendants such that it would be impracticable for

  members of the Class to individually seek redress for Defendants’ wrongful conduct.

          121.    Even if Class members could afford individual litigation, the court system could not.

  Individualized litigation creates a potential for inconsistent or contradictory judgments, and

  increases the delay and expense to all parties and the court system. By contrast, the class action

  device presents far fewer management difficulties and provides the benefits of single adjudication,

  economy of scale, and comprehensive supervision by a single court.




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  VII.    ANY APPLICABLE STATUTES OF LIMITATION ARE TOLLED

          A.        Discovery Rule Tolling
         122.    For the following reasons, any otherwise-applicable statutes of limitation have been

  tolled by the discovery rule with respect to all claims.

         123.    Through the exercise of reasonable diligence, and within any applicable statutes of

  limitation, Plaintiffs and members of the proposed Class could not have discovered that Defendants

  were concealing and misrepresenting the Class Trucks’ emissions and fuel efficiency levels,

  including but not limited to their practice of altering the SCR system on test vehicles, secretly

  manipulating dynamometer results so that the trucks appeared more fuel efficient in testing than

  they were in the real-world, and falsely attesting that its engines performed better than they actually

  did.

         124.    Plaintiffs and the other Class members could not have reasonably discovered, and

  did not know of facts that would have caused a reasonable person to suspect, that Defendants

  intentionally failed to report information within their knowledge to federal and state authorities,

  dealerships, businesses, or consumers until—at the earliest—March 4, 2022, when Defendants

  published reports for the first time disclosing the existence of the emissions and fuel economy

  frauds related to the Class Trucks.

         125.    Likewise, a reasonable and diligent investigation could not have disclosed that

  Defendants had information in their possession about the existence of its sophisticated emissions

  and fuel economy deceptions and that they concealed that information, which Plaintiffs only

  discovered shortly before this action was filed.

          B.        Tolling Due to Fraudulent Concealment
         126.    Throughout the relevant time period, all applicable statutes of limitation have been

  tolled by Defendants’ knowing and active fraudulent concealment and denial of the facts alleged in

  this Complaint.

         127.    Upon information and belief, prior to the date of this Complaint, and at least as early

  as 2018—when U.S. authorities notified Hino that its trucks were not “up to




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  standard”—Defendants knew of the emissions and fuel economy defects in certain Class Trucks,

  but continued to allow Plaintiffs and the class members to purchase and drive their Class Trucks. In

  so doing, Defendants concealed and/or failed to notify Plaintiffs and the Class members about the

  true nature of the Class Trucks.

         128.    Instead of disclosing their deception, or that the emissions and fuel economy from

  the Class Trucks were worse than represented, Defendants falsely represented the Class Trucks’

  emissions and fuel economy.

         129.    Any otherwise-applicable statutes of limitation have therefore been tolled by

  Defendants’ exclusive knowledge and active concealment of the facts alleged herein.

          C.      Estoppel
         130.    Defendants were and are under a continuous duty to disclose to Plaintiffs and Class

  members the true character, quality, and nature of the Class Trucks, including their fuel economy,

  emissions systems, and their compliance with applicable federal and state law.

         131.    Although Defendants had the duty throughout the relevant period to disclose to

  Plaintiffs and Class members that they had engaged in the deception described in this Complaint,

  Defendants did not disclose accurate fuel economy and emissions statistics and did not correct their

  misleading disclosures with respect to the Class Trucks, actively concealed the true character,

  quality, and nature of the Class Trucks, and made misrepresentations about the quality, reliability,

  characteristics, and/or performance of the Class Trucks.

         132.    Defendants actively concealed the true character, quality, performance, and nature

  of the emission and fuel economy defects in the Class Trucks, and Plaintiffs and the class members

  reasonably relied upon Defendants’ knowing and active concealment of these facts.

         133.    Based on the foregoing, Defendants are estopped from relying on any statutes of

  limitations in defense of this action.




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   VIII. CAUSES OF ACTION

          A.      Claims Asserted on Behalf of the Nationwide Class

                                      NATIONWIDE COUNT I:
                                     FRAUD BY CONCEALMENT
                                          (Common Law)
         134.     Plaintiffs incorporate by reference paragraphs 1 through 133 as though fully set

  forth herein.

         135.     Plaintiffs bring this claim on behalf of themselves and the Nationwide Class or, in

  the alternative, on behalf of the State Classes, against all Defendants.

         136.     Defendants are liable for both fraudulent concealment and nondisclosure. See, e.g.,

  Restatement (Second) of Torts §§ 550-51 (1977).

         137.     Specifically, Defendants committed fraud by submitting testing engines that were

  materially different from production engines, attesting that the Class Trucks complied with

  applicable emissions laws, altering the fuel flow rate calibration values to make it appear as though

  its vehicles were more fuel efficient than they actually were under real-world driving conditions,

  installing defective hardware and software in the Class Trucks, and concealing all of this

  information from regulators, Plaintiffs and the Classes.

         138.     A reasonable customer would not have expected that the Class Trucks they paid for

  and drove were materially different from the testing-only trucks used to obtain permission to sell

  the trucks, did not comply with emissions laws, were less fuel efficient than represented by Hino to

  regulators, Plaintiffs, and the Classes, and contain defective hardware and software.

         139.     Defendants knew that these facts about the Class Trucks would be important to

  customers deciding to purchase or lease them. Defendants ensured that Plaintiffs and the Class did

  not discover this information through actively concealing it. Defendants intended for Plaintiffs and

  the Class to rely on their omissions—which they did by paying for the Class Trucks.
         140.     Defendants had a duty to disclose the emissions and fuel economy defects and that

  the Class Trucks consumed more fuel and emitted higher levels of harmful pollutants during normal

  driving operation. These important facts were known and/or accessible only to the Defendants,




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  including due to their involvement in the design, installment, and testing of engines in the Class

  Trucks. Defendants also knew that these technical facts were not known to or reasonably

  discoverable by Plaintiffs and the Classes.

         141.    Defendants also had a duty to disclose the true nature of the Class Trucks in light of

  their affirmative statements about the Class Trucks with respect to emissions standards and fuel

  efficiency. In uniform advertising and marketing materials provided with each Class Truck,

  Defendants intentionally concealed, suppressed, and failed to disclose to Plaintiffs and the Class

  that the Class Trucks obtained worse fuel economy and/or emitted more pollution on the road than

  in regulatory testing.

         142.    Defendants knew these statements were misleading, deceptive, and incomplete

  without the disclosure of the additional facts set forth above regarding the existence of the

  Emissions and Fuel Economy Scheme. Because they volunteered to provide information about the

  Class Trucks that they offered for sale to Plaintiffs and the Class, Defendants had the duty to

  disclose the whole truth. They did not.

         143.    Defendants did not fulfill their duties to disclose to Plaintiffs and the Classes.

  Instead, they actively concealed the truth.

         144.    Defendants’ deceptive actions harmed Plaintiffs and the Classes. Because

  Defendants fraudulently concealed the truth about the Class Trucks’ fuel economy and emissions

  characteristics, customers who paid for the Class Trucks suffered economic losses. Plaintiffs

  suffered damages including but not limited to payment for additional fuel costs required by the

  lower fuel economy performance in their Class Trucks. Accordingly, Defendants are liable to

  Plaintiffs and the Class for damages in an amount to be proven at trial.

         145.     Defendants’ acts were done wantonly, maliciously, oppressively, deliberately, with

  intent to defraud; in reckless disregard of the rights of Plaintiffs and the Class; and to enrich

  themselves. Their misconduct warrants an assessment of punitive damages in an amount sufficient

  to deter such conduct in the future, which amount shall be determined according to proof at trial.




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          B.      Claims Asserted on Behalf of the State-Specific Classes

                                        FLORIDA COUNT I:
                  Violations of the Florida Unfair & Deceptive Trade Practices Act
                                      Fla. Stat. § 501.201, et seq.
                                 (On Behalf of the Florida State Class)

         146.     Plaintiffs incorporate by reference paragraphs 1 through 133 as though fully set

  forth herein.

         147.     Plaintiffs Express Freight International and EFI Export & Trading Corp. (for the

  purposes of this count, “Plaintiffs”) bring this claim on behalf of themselves and the Florida State

  Class against all Defendants.

         148.     Plaintiffs and members of the Florida State Class are “consumers” within the

  meaning of the Florida Unfair and Deceptive Trade Practices Act (“FUDTPA”), Fla. Stat. §

  501.203(7).

         149.     Defendants engaged in “trade or commerce” within the meaning of Fla. Stat. §

  501.203(8).

         150.     FUDTPA prohibits “[u]nfair methods of competition, unconscionable acts or

  practices, and unfair or deceptive acts or practices in the conduct of any trade or commerce …” Fla.

  Stat. § 501.204(1). Defendants participated in unfair and deceptive trade practices that violated the

  FUDTPA as described herein.

         151.     In the course of their business, Defendants concealed and suppressed material facts

  concerning the Class Trucks. Defendants accomplished this by (a) submitting engines for emissions

  testing that were different from production engines installed in Class Trucks such that they falsely

  represented fuel consumption and emissions data, and/or (b) falsely attesting that Class Trucks

  could pass emissions tests when they in fact did not.

         152.     Plaintiffs and Florida State Class members had no way of discerning that

  Defendants’ representations were false and misleading because Plaintiffs and Florida State Class

  members did not have access to Defendants’ emissions certification test engines and Defendants’

  emissions-related hardware and software was extremely sophisticated technology.




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          153.    Defendants thus violated the Act by, at minimum: representing that Class Trucks

  have characteristics, uses, benefits, and qualities which they do not have; representing that Class

  Trucks are of a particular standard, quality, and grade when they are not; advertising Class Trucks

  with the intent not to sell or lease them as advertised; and representing that the subject of a

  transaction involving Class Trucks has been supplied in accordance with a previous representation

  when it has not.

          154.    Defendants intentionally and knowingly misrepresented material facts regarding the

  Class Trucks with intent to mislead Plaintiffs and the Florida State Class.

          155.    Defendants knew or should have known that their conduct violated the FUDTPA.

          156.    Defendants owed Plaintiffs and the Florida State Class a duty to disclose the

  illegality and public health risks, the true nature of the Class Trucks, because Defendants:

                     A.    possessed exclusive knowledge that they were manufacturing, selling, and

           distributing vehicles throughout the United States that did not perform as advertised;

                     B.    intentionally concealed the foregoing from regulators, Plaintiffs, and

           Florida State Class members; and/or

                     C.    made incomplete representations about the Class Trucks’ fuel economy and

           emissions, while purposefully withholding material facts from Plaintiffs and the Florida

           State Class that contradicted these representations.

          157.    Defendants’ concealment of the Class Trucks’ true fuel consumption and emissions

  was material to Plaintiffs and the Florida State Class.

          158.    Defendants’ unfair or deceptive acts or practices were likely to and did in fact

  deceive regulators and reasonable consumers, including Plaintiffs and the Florida State Class, about

  the true environmental cleanliness and fuel efficiency of the Class Trucks, the quality of the

  Defendants’ brands, and the true value of the Class Trucks.

          159.    Defendants’ violations present a continuing risk to Plaintiffs and the Florida State

  Class as well as to the general public. Defendants’ unlawful acts and practices complained of herein

  affect the public interest.




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         160.     Plaintiffs and the Florida State Class suffered ascertainable loss and actual damages

  as a direct and proximate result of Defendants’ misrepresentations and concealment of and failure

  to disclose material information. Defendants had an ongoing duty to all their customers to refrain

  from unfair and deceptive practices under the FUDTPA. All owners of Class Trucks suffered

  ascertainable loss as a result of Defendants’ deceptive and unfair acts and practices made in the

  course of Defendants’ business.

         161.     As a direct and proximate result of Defendants’ violations of the FUDTPA,

  Plaintiffs and members of the Florida State Class have suffered injury-in-fact and/or actual damage.

         162.     Plaintiffs and the Florida State Class are entitled to recover their actual damages

  under Fla. Stat. § 501.211(2) and attorneys’ fees under Fla. Stat. § 501.2105(1).

         163.     Plaintiff and the Florida State Class also seek an order enjoining Defendants’ unfair,

  unlawful, and/or deceptive practices, declaratory relief, attorneys’ fees, and any other just and

  proper relief available under the FUDTPA.

                                        FLORIDA COUNT II:
                                      Breach of Express Warranty
                                      F.S.A. §§ 672.313 and 680.21
                                  (On Behalf of the Florida State Class)

         164.     Plaintiffs incorporate by reference paragraphs 1 through 133 as though fully set

  forth herein.

         165.     Plaintiffs Express Freight International and EFI Export & Trading Corp. (for the

  purposes of this count, “Plaintiffs”) bring this claim on behalf of themselves and the Florida State

  Class against all Defendants.

         166.     Defendants are and were at all relevant times “merchant[s]” with respect to motor

  vehicles under F.S.A. §§ 672.104(1) and 680.1031(3)(k), and a “seller” of motor vehicles under

  § 672.103(1)(d).

         167.     With respect to leases, Defendants are and were at all relevant times “lessors” of

  motor vehicles under F.S.A. § 680.1031(1)(p).




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         168.    The Class Trucks are and were at all relevant times “goods” within the meaning of

  F.S.A. §§ 672.105(1) and 680.1031(1)(h).

         169.    In connection with the purchase or lease of each one of their new vehicles,

  Defendants provide an express base vehicle warranty for a period of two years or unlimited

  mileage. This warranty exists to repair the vehicle in case of “defects in material and

  workmanship.” Defendants also provide an express base emissions and base after-treatment system

  warranty for a period of five years and 250,000 miles, whichever occurs first.

         170.    The Clean Air Act also requires manufacturers of light-duty vehicles to provide two

  federal emission control warranties: a “Performance Warranty” and a “Design and Defect

  Warranty.”

         171.    The EPA requires vehicle manufacturers to provide a Performance Warranty with

  respect to the light-duty trucks’ emission systems. Thus, Defendants also provide an express

  warranty for their light-duty trucks through a Federal Emissions Performance Warranty. The

  Performance Warranty required by the EPA applies to repairs that are required during the first two

  years or 24,000 miles, whichever occurs first, when a vehicle fails an emissions test. Under this

  warranty, certain major emission control components are covered for the first eight years or 80,000

  miles (whichever comes first). These major emission control components subject to the longer

  warranty include the catalytic converters, the electronic emission control unit, and the onboard

  emission diagnostic device or computer.

         172.    The EPA requires vehicle manufacturers to issue Design and Defect Warranties with

  respect to their light-duty trucks’ emission systems. Thus, Defendants also provide an express

  warranty for their vehicles through a Federal Emission Control System Defect Warranty. The

  Design and Defect Warranty required by the EPA covers repair of emission control or emission

  related parts, which fail to function or function improperly because of a defect in materials or

  workmanship. This warranty provides protection for two years or 24,000 miles, whichever comes

  first, or, for the major emission control components, for eight years or 80,000 miles, whichever

  comes first.




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          173.   In addition, the EPA mandates vehicle manufacturers to issue general

  emission-related warranties with respect to all vehicles emission control systems. Thus, Defendants

  also provide an express warranty for their trucks through 40 C.F.R. § 1037.120. The general

  emission-related warranty required by the EPA covers the design and manufacture of all parts of the

  emission control system, ensuring they are free from defect in materials and workmanship. The

  warranty provides protection for light-duty vehicles for five years or 50,000 miles, whichever

  comes first. For medium- and heavy-duty vehicles, the warranty provides 5 years or 100,000 miles,

  whichever comes first.

          174.   As manufacturers of light-duty vehicles, Defendants were required to provide these

  warranties to purchasers or lessees of Class Trucks.

          175.   Defendants’ warranties formed a basis of the bargain that was reached when

  consumers purchased or leased Class Trucks.

          176.   Despite the existence of warranties, Defendants failed to inform Plaintiffs and

  Florida State Class members that the Class Trucks were defectively designed and manufactured to

  emit more pollution and achieve worse fuel economy on the road than what was disclosed to

  regulators and represented to consumers who purchased or leased them, and Defendants failed to

  fix the defective emission components free of charge.

          177.   Defendants breached the express warranty promising to repair and correct

  Defendants’ defect in materials and workmanship. Defendants have not repaired or adjusted, and

  have been unable to repair or adjust, the Class Trucks’ materials and workmanship defects.

          178.   Affording Defendants a reasonable opportunity to cure their breach of written

  warranties would be unnecessary and futile here.

          179.   Furthermore, the limited warranty promising to repair and correct Defendants’

  defect in materials and workmanship fails in its essential purpose because the contractual remedy is

  insufficient to make Plaintiffs and Florida State Class members whole and because Defendants

  have failed and/or have refused to adequately provide the promised remedies within a reasonable

  time.




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           180.   Accordingly, recovery by Plaintiffs and Florida State Class members is not

  restricted to the limited warranty promising to repair and correct Defendants’ defect in materials

  and workmanship, and they seek all remedies as allowed by law.

           181.   Also, as alleged in more detail herein, at the time Defendants warranted and sold or

  leased the Class Trucks, they knew that the Class Trucks were inherently defective and did not

  conform to their warranties; further, Defendants had wrongfully and fraudulently concealed

  material facts regarding the Class Trucks. Plaintiff and Florida State Class members were therefore

  induced to purchase or lease the Class Trucks under false and/or fraudulent pretenses.

           182.   Moreover, many of the injuries flowing from the Class Trucks cannot be resolved

  through the limited remedy of repairing and correcting Defendants’ defect in materials and

  workmanship as many incidental and consequential damages have already been suffered because of

  Defendants’ fraudulent conduct as alleged herein, and because of its failure and/or continued failure

  to provide such limited remedy within a reasonable time, and any limitation on Plaintiffs’ and the

  Florida State Class members’ remedies would be insufficient to make them whole.

           183.   Finally, because of Defendants’ breach of warranty as set forth herein, Plaintiffs and

  Florida State Class members assert, as additional and/or alternative remedies, the revocation of

  acceptance of the goods and the return to them the purchase or lease price of all Class Trucks

  currently owned or leased, and for such other incidental and consequential damages as allowed.

           184.   Defendants were provided reasonable notice of these issues by way of a letter sent

  by Plaintiffs as well as the regulators’ investigations.

           185.   As a direct and proximate result of Defendants’ breach of express warranties,

  Plaintiffs and Florida State Class members have been damaged in an amount to be determined at

  trial.




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                                        FLORIDA COUNT III:
                            Breach of Implied Warranty of Merchantability
                                     F.S.A. §§ 672.314 and 680.212
                                (On Behalf of the Florida State Class)

          186.     Plaintiffs re-allege and incorporate by reference paragraphs 1 through 133 as though

  fully set forth herein.

          187.     Plaintiffs Express Freight International and EFI Export & Trading Corp. (for the

  purposes of this count, “Plaintiffs”) bring this claim on behalf of themselves and the Florida State

  Class against all Defendants.

          188.     Defendants are and were at all relevant times “merchant[s]” with respect to motor

  vehicles under F.S.A. §§ 672.104(1) and 680.1031(3)(k), and a “seller” of motor vehicles under §

  672.103(1)(d).

          189.     With respect to leases, Defendants are and were at all relevant times “lessors” of

  motor vehicles under F.S.A. § 680.1031(1)(p).

          190.     The Class Trucks are and were at all relevant times “goods” within the meaning of

  F.S.A. §§ 672.105(1) and 680.1031(1)(h).

          191.     A warranty that the Class Trucks were in merchantable condition and fit for the

  ordinary purpose for which vehicles are used is implied by law pursuant to F.S.A. §§ 672.314 and

  680.212.

          192.     These Class Trucks, when sold or leased and at all times thereafter, were materially

  different from vehicles Defendants used for emissions testing, included defects that led to inflated

  and misleading fuel economy and emissions ratings, and/or did not comply with emissions

  regulations when being driven on the road, and were therefore not fit for the ordinary purpose for

  which vehicles are used.

          193.     Defendants were provided reasonable notice of these issues by way of a letter sent

  by Plaintiffs as well as the regulators’ investigations. As a direct and proximate result of

  Defendants’ breach of the implied warranty of merchantability, Plaintiff and Florida State Class

  members have been damaged in an amount to be proven at trial.




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                                      ARIZONA COUNT I:
                          Violations of the Arizona Consumer Fraud Act
                                 Ariz. Rev. Stat. § 44-1521, et seq.
                              (On Behalf of the Arizona State Class)
         194.     Plaintiffs incorporate by reference paragraphs 1 through 133 as though fully set

  forth herein.

         195.     Plaintiff Redlands Office Cleaning Solutions LLC (for the purposes of this count,

  “Plaintiff”) brings this claim on behalf of itself and the Arizona State Class against all Defendants.

         196.     Defendants, Plaintiff, and Arizona State Class members are “persons” within the

  meaning of the Arizona Consumer Fraud Act (“Arizona CFA”), Ariz. Rev. Stat. § 44-1521(6).

         197.     The Class Trucks are “merchandise” within the meaning of Ariz. Rev. Stat.

  § 44-1521(5).

         198.     The Arizona CFA provides that “[t]he act, use or employment by any person of any

  deception, deceptive act or practice, fraud, . . . misrepresentation, or concealment, suppression or

  omission of any material fact with intent that others rely upon such concealment, suppression or

  omission, in connection with the sale . . . of any merchandise whether or not any person has in fact

  been misled, deceived or damaged thereby, is declared to be an unlawful practice.” Ariz. Rev. Stat.

  § 44-1522(A).

         199.     In the course of their business, Defendants concealed and suppressed material facts

  concerning the Class Trucks. Defendants accomplished this by (a) submitting engines for

  emissions testing that were different from production engines installed in Class Trucks such that

  they falsely represented fuel consumption and emissions data, and/or (b) falsely attesting that

  Class Trucks could pass emissions tests when they in fact did not.

         200.     Plaintiff and Arizona State Class members had no way of discerning that

  Defendants’ representations were false and misleading because Plaintiff and Arizona State Class

  members did not have access to Defendants’ emissions certification test vehicles and Defendants’

  emissions-related hardware and software was extremely sophisticated technology.

         201.     Defendants thus violated the Arizona CFA by, at minimum: representing that Class

  Trucks have characteristics, uses, benefits, and qualities which they do not have; representing that



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  Class Trucks are of a particular standard, quality, and grade when they are not; advertising Class

  Trucks with the intent not to sell or lease them as advertised; and representing that the subject of a

  transaction involving Class Trucks has been supplied in accordance with a previous representation

  when it has not.

         202.    Defendants intentionally and knowingly misrepresented material facts regarding

  the Class Trucks with intent to mislead Plaintiff and the Arizona State Class.

         203.    Defendants knew or should have known that their conduct violated the Arizona

  CFA.

         204.    Defendants owed Plaintiff and the Arizona State Class a duty to disclose the

  illegality and public health risks, the true nature of the Class Trucks, because Defendants:

                 A.      possessed exclusive knowledge that they were manufacturing, selling, and

         distributing vehicles throughout the United States that did not perform as advertised;

                 B.      intentionally concealed the foregoing from regulators, Plaintiff, and

         Arizona State Class members; and/or

                 C.      made incomplete representations about the Class Trucks’ fuel economy and

         emissions while purposefully withholding material facts from Plaintiff and Arizona State

         Class members that contradicted these representations.

         205.    Defendants’ concealment of the Class Trucks’ true fuel consumption and emissions

  was material to Plaintiff and the Arizona State Class.

         206.    Defendants’ unfair or deceptive acts or practices were likely to and did in fact

  deceive regulators and reasonable consumers, including Plaintiff and the Arizona State Class,

  about the true environmental cleanliness and fuel efficiency of the Class Trucks, the quality of

  Defendants’ brands, and the true value of the Class Trucks.

         207.    Plaintiff and the Arizona State Class suffered ascertainable loss and actual damages

  as a direct and proximate result of Defendants’ misrepresentations and concealment of and failure

  to disclose material information.




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         208.     Plaintiff and the Arizona State Class seek monetary relief against Defendants in an

  amount to be determined at trial. Plaintiff and the Arizona State Class also seek punitive damages

  because Defendants engaged in aggravated and outrageous conduct.

         209.     Plaintiff and the Arizona State Class also seek an order enjoining Defendants’

  unfair, unlawful, and/or deceptive practices, attorneys’ fees, and any other just and proper relief

  available under the Arizona CFA.

                                      ARIZONA COUNT II:
                                    Breach of Express Warranty
                              Ariz. Rev. Stat. §§ 47-2313 and 47-2A210
                               (On Behalf of the Arizona State Class)
         210.     Plaintiffs incorporate by reference paragraphs 1 through 133 as though fully set

  forth herein.

         211.     Plaintiff Redlands Office Cleaning Solutions LLC (for the purposes of this count,

  “Plaintiff”) brings this claim on behalf of itself and the Arizona State Class against all Defendants.

         212.     Defendants are and were at all relevant times “merchant[s]” with respect to motor

  vehicles under Ariz. Rev. Stat. §§ 47-2104(A) and 47-2a103(c); and a “seller” of motor vehicles

  under Ariz. Rev. Stat. § 47-2103(A)(4).

         213.     With respect to leases, Defendants are and were at all relevant times “lessors” of

  motor vehicles under Ariz. Rev. Stat. § 47-2a103(A)(16).

         214.     The Class Trucks are and were at all relevant times “goods” within the meaning of

  Ariz. Rev. Stat. §§ 47-2105(A) and 47-2a103(A)(8).

         215.     In connection with the purchase or lease of each one of its new vehicles,

  Defendants provide an express warranty for a period of two years or unlimited mileage. This

  warranty exists to repair the vehicle in case of “defects in material and workmanship.” Defendants

  also provide an express base emissions and base after-treatment system warranty for a period of

  five years and 250,000 miles, whichever occurs first.




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         216.     The Clean Air Act also requires manufacturers of light-duty vehicles to provide

  two federal emission control warranties: a “Performance Warranty” and a “Design and Defect

  Warranty.”

         217.     The EPA requires vehicle manufacturers to provide a Performance Warranty with

  respect to the vehicles’ emission systems. Thus, Defendants also provide an express warranty for

  their vehicles through a Federal Emissions Performance Warranty. The Performance Warranty

  required by the EPA applies to repairs that are required during the first two years or 24,000 miles,

  whichever occurs first, when a vehicle fails an emissions test. Under this warranty, certain major

  emission control components are covered for the first eight years or 80,000 miles (whichever

  comes first).

         218.     The EPA requires vehicle manufacturers to issue Design and Defect Warranties

  with respect to their vehicles’ emission systems. Thus, Defendants also provide an express

  warranty for their vehicles through a Federal Emission Control System Defect Warranty. The

  Design and Defect Warranty required by the EPA covers repair of emission control or emission

  related parts, which fail to function or function improperly because of a defect in materials or

  workmanship. This warranty provides protection for two years or 24,000 miles, whichever comes

  first, or, for the major emission control components, for eight years or 80,000 miles, whichever

  comes first.

         219.     As manufacturers of light-duty vehicles, Defendants were required to provide these

  warranties to purchasers or lessees of Class Trucks.

         220.     Defendants’ warranties formed a basis of the bargain that was reached when

  consumers purchased or leased Class Trucks.

         221.     Despite the existence of warranties, Defendants failed to inform Plaintiff and

  Arizona State Class members that the Class Trucks were defective and were defectively designed

  and manufactured to emit more pollution and achieve worse fuel economy on the road than what

  was disclosed to regulators and represented to consumers who purchased or leased them, and

  Defendants failed to fix the defective emission components free of charge.




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          222.   Defendants breached the express warranty promising to repair and correct

  Defendants’ defect in materials and workmanship. Defendants have not repaired or adjusted, and

  have been unable to repair or adjust, the Class Trucks’ materials and workmanship defects.

          223.   Affording Defendants a reasonable opportunity to cure their breach of written

  warranties would be unnecessary and futile here.

          224.   Furthermore, the limited warranty promising to repair and correct Defendants’

  defect in materials and workmanship fails in its essential purpose because the contractual remedy

  is insufficient to make Plaintiff and Arizona State Class members whole and because Defendants

  have failed and/or have refused to adequately provide the promised remedies within a reasonable

  time.

          225.   Accordingly, recovery by Plaintiff and Arizona State Class members is not

  restricted to the limited warranty promising to repair and correct Defendants’ defect in materials

  and workmanship, and they seek all remedies as allowed by law.

          226.   Also, as alleged in more detail herein, at the time Defendants warranted and sold or

  leased the Class Trucks, they knew that the Class Trucks were inherently defective and did not

  conform to their warranties; further, Defendants had wrongfully and fraudulently concealed

  material facts regarding the Class Trucks. Plaintiff and Arizona State Class members were

  therefore induced to purchase or lease the Class Trucks under false and/or fraudulent pretenses.

          227.   Moreover, many of the injuries flowing from the Class Trucks cannot be resolved

  through the limited remedy of repairing and correcting Defendants’ defect in materials and

  workmanship as many incidental and consequential damages have already been suffered because

  of Defendants’ fraudulent conduct as alleged herein, and because of its failure and/or continued

  failure to provide such limited remedy within a reasonable time, and any limitation on Plaintiff’s

  Arizona State Class members’ remedies would be insufficient to make them whole.

          228.   Finally, because of Defendants’ breach of warranty as set forth herein, Plaintiff and

  Arizona State Class members assert, as additional and/or alternative remedies, the revocation of




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  acceptance of the goods and the return to them the purchase or lease price of all Class Trucks

  currently owned or leased, and for such other incidental and consequential damages as allowed.

           229.   Defendants were provided reasonable notice of these issues by way of a letter sent

  by Plaintiffs as well as the regulators’ investigations.

           230.   As a direct and proximate result of Defendants’ breach of express warranties,

  Plaintiff and Arizona State Class members have been damaged in an amount to be determined at

  trial.

                                     ARIZONA COUNT III:
                          Breach of Implied Warranty of Merchantability
                             Ariz. Rev. Stat. §§ 47-2314 and 47-2A212
                              (On Behalf of the Arizona State Class)
           231.   Plaintiffs re-allege and incorporate by reference all allegations of paragraphs 1

  through 133 as though fully set forth herein.

           232.   Plaintiff Redlands Office Cleaning Solutions LLC (for the purposes of this count,

  “Plaintiff”) brings this claim on behalf of itself and the Arizona State Class against all Defendants.

           233.   Defendants are and were at all relevant times “merchant[s]” with respect to motor

  vehicles under Ariz. Rev. Stat. §§ 47-2104(A) and 47-2a103(c); and is a “seller” of motor vehicles

  under Ariz. Rev. Stat. § 47-2103(A)(4).

           234.   With respect to leases, Defendants are and were at all relevant times “lessors” of

  motor vehicles under Ariz. Rev. Stat. § 47-2a103(A)(16).

           235.   The Class Trucks are and were at all relevant times “goods” within the meaning of

  Ariz. Rev. Stat. §§ 47-2105(A) and 47-2a103(A)(8).

           236.   A warranty that the Class Trucks were in merchantable condition and fit for the

  ordinary purpose for which vehicles are used is implied by law pursuant to Ariz. Rev. Stat. §§

  47-2314 and 47-2a212.

           237.   These Class Trucks, when sold or leased and at all times thereafter, were materially

  different from vehicles Defendants used for emissions testing, included defects that led to inflated

  and misleading fuel economy and emissions ratings, and/or did not comply with emissions




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   regulations when being driven on the road, and were therefore not fit for the ordinary purpose for

   which vehicles are used.

            238.   Defendants were provided reasonable notice of these issues by way of a letter sent

   by Plaintiffs as well as the regulators’ investigations.

            239.   As a direct and proximate result of Defendants’ breach of the implied warranty of

   merchantability, Arizona State Class members have been damaged in an amount to be proven at

   trial.

                                      CALIFORNIA COUNT I:
                        Violation of California Consumers Legal Remedies Act
                                 Cal Bus. & Prof. Code § 1750, et seq.
                               (On Behalf of the California State Class)
            240.   Plaintiffs incorporate by reference paragraphs 1 through 133 as though fully set

  forth herein.

            241.   Plaintiff Redlands Office Cleaning Solutions, LLC (for the purposes of this count,

  “Plaintiff”) brings this claim on behalf of itself and the California State Class against all Defendants

  for injunctive relief only.

            242.   Plaintiff and members of the California State Class were deceived by Defendants’

  failure to disclose that the Class Trucks were materially different from vehicles Defendants used for

  emissions testing and/or did not comply with emissions regulations when driven and were therefore

  not fit for the ordinary purpose for which vehicles are used.

            243.   Defendants engaged in unfair or deceptive acts or practices when, in the course of

  their business they, among other acts and practices, knowingly made materially incomplete

  representations as to the characteristics, uses and benefits of the Class Trucks.

            244.   In the various channels of information through which Defendants sold and marketed

  Class Trucks, Defendants failed to disclose material information concerning the Class Trucks,

  which it had a duty to disclose. Defendants had a duty to disclose the defect because, as detailed

  above, (a) Defendants knew about the SCR Emissions Fraud in the Class Trucks; (b) Defendants

  had exclusive knowledge of material facts not known to the general public or the other California




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  State Class members; (c) Defendants actively concealed material facts concerning the emission of

  the Class Trucks from the general public and Plaintiff and California State Class members; and (d)

  Defendants made partial representations about the Class Trucks that were misleading because they

  did not disclose the full truth. As detailed above, Defendants knew the information concerning the

  defect at the time of advertising and selling the Class Trucks, all of which was intended to induce

  consumers to purchase the Class Trucks.

          245.    Defendants intended for Plaintiff and California State Class members to rely on it to

  provide adequately designed, and adequately manufactured automobiles and to honestly and

  accurately reveal the problems described throughout this Complaint.

          246.    Defendants intentionally failed or refused to disclose the defect to consumers.

          247.    Defendants’ conduct and deceptive omissions were intended to induce Plaintiff and

  California State Class members to believe that the Class Trucks were adequately designed and

  adequately manufactured automobiles, meeting regulatory standards.

          248.    Defendants’ conduct constitutes unfair acts or practices as defined by the California

  Consumers Legal Remedies Act (the “CLRA”).

          249.    Plaintiff and the other California State Class members have suffered injury in fact

  and actual damages resulting from Defendants’ material omissions.

          250.    Plaintiff and the California State Class seek an order enjoining Defendants’ unfair or

  deceptive acts or practices, equitable relief, and any other just and proper relief available under the

  CLRA.

          251.    Defendants are on notice of the issues raised in this count and this Complaint by way

  of investigations conducted by governmental regulators. Plaintiff has also sent a notice letter to

  Defendants in accordance with Cal. Civ. Code § 1782(a) of the CLRA, notifying Defendants of

  their alleged violations of Cal. Civ. Code § 1770(a) and demanding that Defendants correct or agree

  to correct the actions described therein within thirty (30) days of the notice letter. If Defendants fail

  to do so, Plaintiff will amend this Complaint as of right (or otherwise seek leave to amend the




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  Complaint) to include compensatory and monetary damages to which Plaintiff and California Class

  Members are entitled under the CLRA.

                                     CALIFORNIA COUNT II:
                        Violations of the California Unfair Competition Law
                                Cal. Bus. & Prof. Code § 17200 et seq.
                              (On Behalf of the California State Class)

         252.     Plaintiffs incorporate by reference paragraphs 1 through 133 as though fully set

  forth herein.

         253.     Plaintiff Redlands Office Cleaning Solutions, LLC (for the purposes of this count,

  “Plaintiff”) brings this claim on behalf of itself and the California State Class against all

  Defendants.

         254.     California Business and Professions Code § 17200 prohibits any “unlawful, unfair,

  or fraudulent business act or practices.” Defendants have engaged in unlawful, fraudulent, and

  unfair business acts and practices in violation of the UCL.

         255.     Defendants’ conduct, as described herein, was and is in violation of the UCL.

  Defendants’ conduct violates the UCL in at least the following ways:

                  A.      by knowingly and intentionally concealing from Plaintiff and California

          State Class members that the Class Trucks suffer from a design defect while obtaining

          money from the California State Class members;

                  B.      by marketing Class Trucks as possessing functional and defect-free,

          EPA-compliant engine systems; and

                  C.      by knowingly designing and manufacturing the Class Trucks in a manner

          that they emit more pollution and achieve worse fuel economy on the road than what was

          disclosed to regulators and represented to consumers who purchased or leased them, and

          failing to fix the defective emission component free of charge.

         256.     Defendants’ misrepresentations and omissions alleged herein caused Plaintiff and

  the California State Class members to make their purchases or leases of their Class Trucks. Absent

  those misrepresentations and omissions, Plaintiff and California State Class members would not




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  have purchased or leased these vehicles, would not have purchased or leased these Class Trucks at

  the prices they paid, and/or would have purchased or leased less expensive alternative vehicles that

  did not have inflated and misleading fuel economy values or issues with exhaust emissions.

          257.    Accordingly, Plaintiff and California State Class members have suffered

  ascertainable loss and actual damages as a direct and proximate result of Defendants’

  misrepresentations and their concealment of and failure to disclose material information.

          258.    Plaintiff requests that this Court enter such orders or judgments as may be necessary

  to enjoin Defendants from continuing its unfair, unlawful, and/or deceptive practices and to restore

  to members of the California State Class any money it acquired by unfair competition, including

  restitution and/or restitutionary disgorgement, as provided in Cal. Bus. & Prof. Code § 17203 and

  Cal. Bus. & Prof. Code § 3345; and for such other relief set forth below.

                                     CALIFORNIA COUNT III:
                          Violations of the California False Advertising Law
                                     Cal. Civ. Code § 17500 et seq.
                               (On Behalf of the California State Class)

          259.    Plaintiffs incorporate by reference paragraphs 1 through 133 as though fully set

  forth herein.

          260.    Plaintiff Redlands Office Cleaning Solutions, LLC (for the purposes of this count,

  “Plaintiff”) bring this claim on behalf of itself and the California State Class against all Defendants.

          261.    California Bus. & Prof. Code § 17500 states: “It is unlawful for any . . . corporation

  . . . with intent directly or indirectly to dispose of real or personal property . . . to induce the public

  to enter into any obligation relating thereto, to make or disseminate or cause to be made or

  disseminated . . . from this state before the public in any state, in any newspaper or other

  publication, or any advertising device, . . . or in any other manner or means whatever, including

  over the Internet, any statement . . . which is untrue or misleading, and which is known, or which by

  the exercise of reasonable care should be known, to be untrue or misleading.”

          262.    Defendants caused to be made or disseminated through California and the United

  States, through advertising, marketing and other publications, statements that were untrue or




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  misleading, and which were known, or which by the exercise of reasonable care should have been

  known to Defendants, to be untrue and misleading to consumers, including California State Class

  members.

         263.     Defendants have violated Section 17500 because the misrepresentations and

  omissions regarding the reliability and functionality of Class Trucks as set forth in this Complaint

  were material and likely to deceive a reasonable consumer.

         264.     Plaintiff and the other California State Class members have suffered an injury in

  fact, including the loss of money or property, as a result of Defendants’ unfair, unlawful, and/or

  deceptive practices. In purchasing or leasing their Class Trucks, the California State Class relied on

  the misrepresentations and/or omissions of Defendants with respect to the performance and

  reliability of the Class Trucks. Defendants’ representations turned out not to be true because the

  Class Trucks are distributed with faulty and defective hardware and software systems, rendering

  certain fuel efficiency and emissions functions unreliable.

         265.     All of the wrongful conduct alleged herein occurred in the conduct of Defendants

  business. Defendants’ wrongful conduct is part of a pattern or generalized course of conduct that

  was perpetuated, both in the State of California and nationwide.

         266.     The California State Class requests that this Court enter such orders or judgments as

  may be necessary to enjoin Defendants from continuing their unfair, unlawful, and/or deceptive

  practices and to restore to the California State Class any money Defendants acquired by unfair

  competition, including restitution and/or restitutionary disgorgement, and for such other relief set

  forth below.

                                    CALIFORNIA COUNT IV:
                                    Breach of Express Warranty
                                 Cal. Com. Code §§ 2313 and 10210
                               (On Behalf of the California State Class)

         267.     Plaintiffs incorporate by reference paragraphs 1 through 133 as though fully set

  forth herein.




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         268.    Plaintiff Redlands Office Cleaning Solutions, LLC (for the purposes of this count,

  “Plaintiff”) brings this claim on behalf of itself and the California State Class against all

  Defendants.

         269.    Defendants are and were at all relevant times “merchant[s]” with respect to motor

  vehicles under Cal. Com. Code §§ 2104(1) and 10103(c), and “sellers” of motor vehicles under §

  2103(1)(d).

         270.    With respect to leases, Defendants are and were at all relevant times “lessors” of

  motor vehicles under Cal. Com. Code § 10103(a)(16).

         271.    The Class Trucks are and were at all relevant times “goods” within the meaning of

  Cal. Com. Code §§ 2105(1) and 10103(a)(8).

         272.    In connection with the purchase or lease of each one of its new vehicles, Defendants

  provide an express base vehicle warranty for a period of two years and unlimited mileage. This

  warranty exists to repair the vehicle in the case of “defects in material and workmanship.”

  Defendants also provide an express base emissions and base after-treatment system warranty for a

  period of five years and 250,000 miles, whichever occurs first.

         273.    The Clean Air Act also requires manufacturers of light-duty vehicles to provide two

  federal emission control warranties: a “Performance Warranty” and a “Design and Defect

  Warranty.”

         274.    The EPA requires vehicle manufacturers to provide a Performance Warranty with

  respect to the light-duty trucks’ emission systems. Thus, Defendants also provide an express

  warranty for their light-duty trucks through a Federal Emissions Performance Warranty. The

  Performance Warranty required by the EPA applies to repairs that are required during the first two

  years or 24,000 miles, whichever occurs first, when a vehicle fails an emissions test. Under this

  warranty, certain major emission control components are covered for the first eight years or 80,000

  miles (whichever comes first). These major emission control components subject to the longer

  warranty include the catalytic converters, the electronic emission control unit, and the onboard

  emission diagnostic device or computer. The EPA requires vehicle manufacturers to issue Design




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  and Defect Warranties with respect to their light-duty trucks’ emission systems. Thus, Defendants

  also provide an express warranty for their light-duty trucks through a Federal Emission Control

  System Defect Warranty. The Design and Defect Warranty required by the EPA covers repair of

  emission control or emission related parts, which fail to function or function improperly because of

  a defect in materials or workmanship. This warranty provides protection for two years or 24,000

  miles, whichever comes first, or, for the major emission control components, for eight years or

  80,000 miles, whichever comes first.

         275.     In addition, the EPA mandates vehicle manufacturers to issue general

  emission-related warranties with respect to all vehicles emission control systems. Thus, Defendants

  also provide an express warranty for their trucks through 40 C.F.R. § 1037.120. The general

  emission-related warranty required by the EPA covers the design and manufacture of all parts of the

  emission control system, ensuring they are free from defect in materials and workmanship. The

  warranty provides protection for light-duty vehicles for five years or 50,000 miles, whichever

  comes first. For medium- and heavy-duty vehicles, the warranty provides 5 years or 100,000 miles,

  whichever comes first.

         276.     Defendants were required to provide these warranties to purchasers or lessees of

  Class Trucks.

         277.     Defendants’ warranties formed a basis of the bargain that was reached when

  consumers purchased or leased Class Trucks.

         278.     Despite the existence of warranties, Defendants failed to inform Plaintiff and

  California State Class members that the Class Trucks were defectively designed and manufactured

  to emit more pollution and achieve worse fuel economy on the road than what was disclosed to

  regulators and represented to consumers who purchased or leased them, and Defendants failed to

  fix the defective emission components free of charge.

         279.     Defendants breached the express warranty promising to repair and correct

  Defendants’ defect in materials and workmanship. Defendants have not repaired or adjusted, and

  have been unable to repair or adjust, the Class Trucks’ materials and workmanship defects.




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         280.    Affording Defendants a reasonable opportunity to cure their breach of written

  warranties would be unnecessary and futile here.

         281.    Furthermore, the limited warranty promising to repair and correct Defendants’

  defect in materials and workmanship fails in its essential purpose because the contractual remedy is

  insufficient to make California State Class members whole and because Defendants have failed

  and/or have refused to adequately provide the promised remedies within a reasonable time.

         282.    Accordingly, recovery by Plaintiff and California State Class members is not

  restricted to the limited warranty promising to repair and correct Defendants’ defect in materials

  and workmanship, and they seek all remedies as allowed by law.

         283.    Also, as alleged in more detail herein, at the time Defendants warranted and sold or

  leased the Class Trucks, they knew that the Class Trucks were inherently defective and did not

  conform to their warranties; further, Defendants had wrongfully and fraudulently concealed

  material facts regarding the Class Trucks. California State Class members were therefore induced

  to purchase or lease the Class Trucks under false and/or fraudulent pretenses.

         284.    Moreover, many of the injuries flowing from the Class Trucks cannot be resolved

  through the limited remedy of repairing and correcting Defendants’ defect in materials and

  workmanship as many incidental and consequential damages have already been suffered because of

  Defendants’ fraudulent conduct as alleged herein, and because of its failure and/or continued failure

  to provide such limited remedy within a reasonable time, and any limitation on Plaintiff and

  California State Class members’ remedies would be insufficient to make them whole.

         285.    Finally, because of Defendants’ breach of warranty as set forth herein, Plaintiff and

  California State Class members assert, as additional and/or alternative remedies, the revocation of

  acceptance of the goods and the return to them the purchase or lease price of all Class Trucks

  currently owned or leased, and for such other incidental and consequential damages as allowed.

         286.    Defendants were provided reasonable notice of these issues by way of a letter sent

  by Plaintiff as well as the regulators’ investigations.




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         287.    As a direct and proximate result of Defendants’ breach of express warranties,

  California State Class members have been damaged in an amount to be determined at trial.

                                     CALIFORNIA COUNT V:
                           Breach of Implied Warranty of Merchantability
                                 Cal. Com. Code §§ 2314 and 10212
                              (On Behalf of the California State Class)

         288.    Plaintiffs re-allege and incorporate by reference all allegations of paragraphs 1

  through 133 as though fully set forth herein.

         289.     Plaintiff Redlands Office Cleaning Solutions, LLC (for the purposes of this count,

  “Plaintiff”) brings this claim on behalf of itself and the California State Class against all

  Defendants.

         290.    Defendants are and were at all relevant times “merchant[s]” with respect to motor

  vehicles under Cal. Com. Code §§ 2104(1) and 10103(c), and “sellers” of motor vehicles under §

  2103(1)(d).

         291.    With respect to leases, Defendants are and were at all relevant times “lessors” of

  motor vehicles under Cal. Com. Code § 10103(a)(16).

         292.    The Class Trucks are and were at all relevant times “goods” within the meaning of

  Cal. Com. Code §§ 2105(1) and 10103(a)(8).

         293.    A warranty that the Class Trucks were in merchantable condition and fit for the

  ordinary purpose for which vehicles are used is implied by law pursuant to Cal. Com. Code §§ 2314

  and 10212.

         294.    These Class Trucks, when sold or leased and at all times thereafter, were materially

  different from vehicles Defendants used for emissions testing, included defects that led to inflated

  and misleading fuel economy and emissions ratings, and/or did not comply with emissions

  regulations when being driven on the road, and were therefore not fit for the ordinary purpose for

  which vehicles are used.

         295.    Defendants were provided reasonable notice of these issues by way of a letter sent

  by Plaintiff as well as the regulators’ investigations.




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            296.   As a direct and proximate result of Defendants’ breach of the implied warranty of

  merchantability, Plaintiff and California State Class members have been damaged in an amount to

  be proven at trial.

                                  CALIFORNIA COUNT VI:
        Violation of Song-Beverly Consumer Warranty Act, Breach of Implied Warranty
                                  Cal Civ. Code § 1790, et seq.
                            (On Behalf of the California State Class)

            297.   Plaintiffs incorporate by reference paragraphs 1 through 133 as though fully set

  forth herein.

            298.   Plaintiff Redlands Office Cleaning Solutions, LLC (for the purposes of this count,

  “Plaintiff”) brings this claim on behalf of itself and the California State Class against all

  Defendants.

            299.   Plaintiff and members of the California State Class who purchased Class Trucks in

  California are “buyers” within the meaning of Cal. Civ. Code § 1791.

            300.   The Class Trucks are “consumer goods” within the meaning of Cal. Civ. Code §

  1791(a).

            301.   Defendants are the “manufacturer[s]” of the Class Trucks within the meaning of Cal.

  Civ. Code § 1791(j).

            302.   Defendants impliedly warranted to Plaintiff and the other members of the California

  State Class that the Class Trucks were “merchantable” within the meaning of Cal. Civ. Code §§

  1791.1(a) & 1792; however, the Class Trucks do not have the quality that a buyer would reasonably

  expect.

            303.   Cal. Civ. Code § 1791.1(a) states: “Implied warranty of merchantability” or

  “implied warranty that goods are merchantable” means that the consumer goods meet each of the

  following:

                   A.      Pass without objection in the trade under the contract description.

                   B.      Are fit for the ordinary purposes for which such goods are used.

                   C.      Are adequately contained, packaged, and labeled.




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                   D.        Conform to the promises or affirmations of fact made on the container or

          label.

         304.      The Class Trucks would not pass without objection in the automotive trade because

  they share a common design defect in that they were materially different from vehicles Defendants

  used for emissions testing, included defects that led to inflated and misleading fuel economy and

  emissions ratings, and/or did not comply with emissions regulations when being driven on the road,

  which conceals the vehicles’ true emissions and overstates their fuel economy.

         305.      Class Trucks are not adequately labeled because the labeling fails to disclose the fact

  that they are defective.

         306.      In the various channels of information through which Defendants sold and marketed

  Class Trucks, Defendants failed to disclose material information concerning the Class Trucks,

  which it had a duty to disclose. Defendants had a duty to disclose the defect because, as detailed

  above: (a) Defendants knew about the defect; (b) Defendants had exclusive knowledge of material

  facts not known to the general public or the other California State Class members; (c) Defendants

  actively concealed material facts from the general public and California State Class members

  concerning the Class Trucks’ true emissions and fuel economy; and (d) Defendants made partial

  representations about the Class Trucks that were misleading because they did not disclose the full

  truth. As detailed above, Defendants knew the information concerning the defect at the time of

  advertising and selling the Class Trucks, all of which was intended to induce consumers to purchase

  the Class Trucks.

         307.      Defendants breached the implied warranty of merchantability by manufacturing and

  selling Class Trucks that are defective. Furthermore, this defect has caused members of the

  California State Class to not receive the benefit of their bargain and have caused the Class Trucks to

  depreciate in value.

         308.      Plaintiff and members of the California State Class have been damaged as a result

  of the diminished value of Defendants’ products.




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         309.     Under Cal. Civ. Code §§ 1791.1(d) & 1794, Plaintiff and other members of the

  California State Class are entitled to damages and other legal and equitable relief including, at their

  election, the purchase price of their Class Trucks, or the overpayment or diminution in value of their

  Class Trucks.

         310.     Under Cal. Civ. Code § 1794, Plaintiff and the other members of the California State

  Class are entitled to costs and attorneys’ fees.

                                  CALIFORNIA COUNT VII:
      Violation of the Song-Beverly Consumer Protection Act, Breach of Express Warranty
                                  Cal Civ. Code § 1790, et seq.
                            (On Behalf of the California State Class)

         311.     Plaintiffs incorporate by reference paragraphs 1 through 133 as though fully set

  forth herein.

         312.     Plaintiff Redlands Office Cleaning Solutions, LLC (for the purposes of this count,

  “Plaintiff”) brings this claim on behalf of itself and the California State Class against all

  Defendants.

         313.     Plaintiff and Members of the California State Class who purchased or leased the

  Class Trucks in California are “buyers” within the meaning of California Civil Code § 1791(b).

         314.     The Class Trucks are “consumer goods” within the meaning of California Civil

  Code § 1791(a).

         315.     Defendants are “manufacturer[s]” of the Class Trucks within the meaning of

  California Civil Code § 1791(j).

         316.     Defendants made express warranties to members of the California State Class within

  the meaning of California Civil Code §§ 1791.2 and 1793.2, as described above.

         317.     As set forth above in detail, the Class Trucks are inherently defective in that they

  were materially different from vehicles Defendants used for emissions testing, included defects that

  led to inflated and misleading fuel economy and emissions ratings, and/or did not comply with

  emissions regulations when being driven on the road. This defect substantially impairs the use and

  value of the Class Trucks to reasonable consumers.




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          318.    As a result of Defendants’ breach of their express warranties, members of the

  California State Class received goods whose defect substantially impairs their value to Plaintiff and

  the other members of the California State Class. Plaintiff and members of the California State Class

  have been damaged as a result of, inter alia, the diminished value of Defendants’ products.

          319.    Pursuant to California Civil Code §§ 1793.2 & 1794, Plaintiff and members of the

  California State Class are entitled to damages and other legal and equitable relief including, at their

  election, the purchase price of their Class Trucks, or the overpayment or diminution in value of their

  Class Trucks.

          320.    Pursuant to California Civil Code § 1794, the Class is entitled to costs and attorneys’

  fees.

                                   CALIFORNIA COUNT VIII:
                         Breach of Express California Emissions Warranties
                                   Cal. Civ. Code § 1793.2, et seq.
                              (On Behalf of the California State Class)

          321.    Plaintiffs incorporate by reference paragraphs 1 through 133 as though fully set

  forth herein.

          322.    Plaintiff Redlands Office Cleaning Solutions, LLC (for the purposes of this count,

  “Plaintiff”) brings this claim on behalf of itself and the California State Class against all

  Defendants.

          323.    Each Class Truck is covered by express California Emissions Warranties as a matter

  of law. See Cal. Health & Safety Code § 43205; Cal. Code Regs. tit. 13, § 2037.

          324.    The express California Emissions Warranties generally provide “that the vehicle or

  engine is . . . [d]esigned, built, and equipped so as to conform with all applicable regulations

  adopted by the Air Resources Board.” Id. This provision applies without any time or mileage

  limitation. See id.

          325.    The California Emissions Warranties also specifically warrant consumers of light-

  and medium duty vehicles against any performance failure of the emissions control system for three

  years or 50,000 miles, whichever occurs first, and against any defect in any emission-related part




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  for seven years or 70,000 miles, whichever occurs first. See id. The California Emissions

  Warranties also specifically warrant consumers of diesel-powered heavy-duty vehicles against any

  defect in any emission-related part for five years or 100,000 miles, whichever occurs first. Cal.

  Code Regs. tit. 13, § 2036.

            326.   California law imposes express duties “on the manufacturer of consumer goods sold

  in this state and for which the manufacturer has made an express warranty.” Cal. Civ. Code §

  1793.2.

            327.   Among those duties, “[i]f the manufacturer or its representative in this state is

  unable to service or repair a new motor vehicle . . . to conform to the applicable express warranties

  after a reasonable number of attempts, the manufacturer shall either promptly replace the new

  motor vehicle or promptly make restitution to the buyer” at the vehicle owner’s option. See Cal.

  Civ. Code § 1793.2(d)(2).

            328.   Plaintiff and Class members are excused from the requirement to “deliver

  nonconforming goods to the manufacturer’s service and repair facility within this state” because

  Defendants are refusing to accept them and delivery of the California Vehicles “cannot reasonably

  be accomplished.” Cal. Civ. Code § 1793.2(c).

            329.   This Complaint is written notice of nonconformity to Defendants and “shall

  constitute return of the goods.” Id.

            330.   Plaintiff and California State Class members are excused from any requirement that

  they allow a “reasonable number of attempts” to bring California Vehicles into conformity with

  their California Emissions Warranties based on futility because Hino has no ability to do so at this

  time.

            331.   In addition to all other damages and remedies, California State Class members are

  entitled to “recover a civil penalty of up to two times the amount of damages” for the

  aforementioned violation. See Cal. Civ. Code § 1794(e)(1).




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                                     CALIFORNIA COUNT IX:
                                      Failure to Recall/Retrofit
                                (On Behalf of the California State Class)
         332.      Plaintiffs incorporate by reference paragraphs 1 through 133 as though fully set

  forth herein.

         333.      Plaintiff Redlands Office Cleaning Solutions, LLC (for the purposes of this count,

  “Plaintiff”) brings this claim on behalf of itself and the California State Class against all

  Defendants.

         334.      Defendants manufactured, marketed, distributed, sold, or otherwise placed into the

  stream of U.S. commerce the Class Trucks, as set forth above.

         335.      Defendants knew or reasonably should have known that the Class Trucks emit a

  substantially increased amount of pollution and reasonably should have known that the Class

  Trucks were likely to be dangerous when used in a reasonably foreseeable manner.

         336.      Defendants failed to recall the Class Trucks in a timely manner or warn of the Class

  Trucks’ heightened emissions.

         337.      A reasonable manufacturer in same or similar circumstances would have timely and

  properly recalled the Class Trucks.

         338.      Plaintiff and California State Class members were harmed by Defendants’ failure to

  recall the Class Trucks properly and in a timely manner and, as a result, have suffered damages,

  caused by Defendants’ ongoing failure to properly recall, retrofit, and fully repair the Class Trucks.

  Defendants’ failure to timely recall the Class Trucks was a substantial factor in causing harm to

  Plaintiff and California State Class members as alleged herein.

                                     CONNECTICUT COUNT I:
                        Violations of Connecticut Unlawful Trade Practice Act
                                  Conn. Gen. Stat. § 42-110a, et seq.
                              (On Behalf of the Connecticut State Class)
          339.     Plaintiffs incorporate by reference paragraphs 1 through 133 as though fully set

   forth herein.

          340.     Plaintiff Marders (for the purposes of this count, “Plaintiff”) brings this claim on

   behalf of itself and the Connecticut State Class against all Defendants.



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          341.   The Connecticut Unfair Trade Practices Act (“Connecticut UTPA”) provides: “No

  person shall engage in unfair methods of competition and unfair or deceptive acts or practices in

  the conduct of any trade or commerce.” Conn. Gen. Stat. § 42-110b(a).

          342.   Defendants are “person[s]” within the meaning of Conn. Gen. Stat. § 42-110a(3).

          343.   Defendants engaged in “trade” or “commerce” within the meaning of Conn. Gen.

  Stat. § 42-110a(4).

          344.   Defendants participated in deceptive trade practices that violated the Connecticut

  UTPA as described herein.

          345.   In the course of their business, Defendants concealed and suppressed material facts

  concerning the Class Trucks. Defendants accomplished this by (a) submitting engines for

  emissions testing that were different from production engines installed in Class Trucks such that

  they falsely represented fuel consumption and emissions data, and/or (b) falsely attesting that

  Class Trucks could pass emissions tests when they in fact did not.

          346.   Plaintiff and Connecticut State Class members had no way of discerning that

  Defendants’ representations were false and misleading because Plaintiff and Connecticut State

  Class members did not have access to Defendants’ emissions certification test vehicles and

  Defendants’ emissions-related hardware and software was extremely sophisticated technology.

          347.   Defendants thus violated the Connecticut UTPA by, at minimum: representing that

  Class Trucks have characteristics, uses, benefits, and qualities which they do not have;

  representing that Class Trucks are of a particular standard, quality, and grade when they are not;

  advertising Class Trucks with the intent not to sell or lease them as advertised; and representing

  that the subject of a transaction involving Class Trucks has been supplied in accordance with a

  previous representation when it has not.

          348.   Defendants intentionally and knowingly misrepresented material facts regarding

  the Class Trucks with intent to mislead Plaintiff and the Connecticut State Class.

          349.   Defendants knew or should have known that their conduct violated the Connecticut

  UTPA.




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         350.    Defendants owed Plaintiff and the Connecticut State Class a duty to disclose the

  illegality and public health risks, the true nature of the Class Trucks, because Defendants:

                 A.      possessed exclusive knowledge that they were manufacturing, selling, and

         distributing vehicles throughout the United States that did not perform as advertised;

                 B.      intentionally concealed the foregoing from regulators, Plaintiff, and

         Connecticut State Class members; and/or

                 C.      made incomplete representations about the Class Trucks’ fuel economy and

         emissions while purposefully withholding material facts that contradicted these

         representations.

         351.    Defendants’ concealment of the Class Trucks’ true fuel consumption and emissions

  was material to Plaintiff and the Connecticut State Class.

         352.    Defendants’ unfair or deceptive acts or practices were likely to and did in fact

  deceive regulators and reasonable consumers, including Plaintiff and the Connecticut State Class,

  about the true environmental cleanliness and fuel efficiency of the Class Trucks, the quality of the

  Defendants’ brands, and the true value of the Class Trucks.

         353.    Plaintiff and the Connecticut State Class suffered ascertainable loss and actual

  damages as a direct and proximate result of Defendants’ misrepresentations and concealment of

  and failure to disclose material information.

         354.    Plaintiff and the Connecticut State Class seek monetary relief against Defendants in

  an amount to be determined at trial. Plaintiff and the Connecticut State Class also seek punitive

  damages because Defendants engaged in aggravated and outrageous conduct.

         355.    Plaintiff and the Connecticut State Class also seek an order enjoining Defendants’

  unfair, unlawful, and/or deceptive practices, attorneys’ fees, and any other just and proper relief

  available under the Connecticut CFA.

         356.    Defendants had an ongoing duty to all their customers to refrain from unfair and

  deceptive practices under the Connecticut UTPA. All owners of Class Trucks suffered




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  ascertainable loss as a result of Defendants’ deceptive and unfair acts and practices made in the

  course of Defendants’ business.

            357.   Defendants’ violations present a continuing risk to Plaintiff and the Connecticut

  State Class, as well as to the general public. Defendants’ unlawful acts and practices complained of

  herein affect the public interest.

            358.   As a direct and proximate result of Defendants’ violations of the Connecticut

  UTPA, Plaintiff and the Connecticut State Class have suffered injury-in-fact and/or actual

  damage.

            359.   Class members are entitled to recover their actual damages, punitive damages, and

  attorneys’ fees pursuant to Conn. Gen. Stat. § 42-110g. Defendants acted with a reckless

  indifference to another’s rights or wanton or intentional violation to another’s rights and otherwise

  engaged in conduct amounting to a particularly aggravated, deliberate disregard of the rights of

  others.

                                   CONNECTICUT COUNT II:
                                    Breach of Express Warranty
                                 Conn. Gen. Stat. Ann. § 42A-2-313
                              (On Behalf of the Connecticut State Class)
            360.   Plaintiffs incorporate by reference paragraphs 1 through 133 as though fully set

  forth herein.

            361.   Plaintiff Marders (for the purposes of this count, “Plaintiff”) brings this claim on

  behalf of itself and the Connecticut State Class against all Defendants.

            362.   Defendants are and were at all relevant times “merchant[s]” with respect to motor

  vehicles under Conn. Gen. Stat. Ann. § 42a-2-104(1).

            363.   In connection with the purchase or lease of each one of its new vehicles,

  Defendants provide an express warranty for a period of two years or unlimited mileage. This

  warranty exists to repair the vehicle in case of “defects in material and workmanship.” Defendants

  also provide an express base emissions and base after-treatment system warranty for a period of

  five years and 250,000 miles, whichever occurs first.




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         364.     The Clean Air Act also requires manufacturers of light-duty vehicles to provide

  two federal emission control warranties: a “Performance Warranty” and a “Design and Defect

  Warranty.”

         365.     The EPA requires vehicle manufacturers to provide a Performance Warranty with

  respect to the vehicles’ emission systems. Thus, Defendants also provide an express warranty for

  their vehicles through a Federal Emissions Performance Warranty. The Performance Warranty

  required by the EPA applies to repairs that are required during the first two years or 24,000 miles,

  whichever occurs first, when a vehicle fails an emissions test. Under this warranty, certain major

  emission control components are covered for the first eight years or 80,000 miles (whichever

  comes first).

         366.     The EPA requires vehicle manufacturers to issue Design and Defect Warranties

  with respect to their vehicles’ emission systems. Thus, Defendants also provide an express

  warranty for their vehicles through a Federal Emission Control System Defect Warranty. The

  Design and Defect Warranty required by the EPA covers repair of emission control or emission

  related parts, which fail to function or function improperly because of a defect in materials or

  workmanship. This warranty provides protection for two years or 24,000 miles, whichever comes

  first, or, for the major emission control components, for eight years or 80,000 miles, whichever

  comes first.

         367.     As manufacturers of light-duty vehicles, Defendants were required to provide these

  warranties to purchasers or lessees of Class Trucks.

         368.     Defendants’ warranties formed a basis of the bargain that was reached when

  consumers purchased or leased Class Trucks.

         369.     Despite the existence of warranties, Defendants failed to inform Plaintiff and

  Connecticut State Class members that the Class Trucks were defective and were defectively

  designed and manufactured to emit more pollution and achieve worse fuel economy on the road

  than what was disclosed to regulators and represented to consumers who purchased or leased them,

  and Defendants failed to fix the defective emission components free of charge.




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         370.    Defendants breached the express warranty promising to repair and correct

  Defendants’ defect in materials and workmanship. Defendants have not repaired or adjusted, and

  have been unable to repair or adjust, the Class Trucks’ materials and workmanship defects.

         371.    Affording Defendants a reasonable opportunity to cure their breach of written

  warranties would be unnecessary and futile here.

         372.    Furthermore, the limited warranty promising to repair and correct Defendants’

  defect in materials and workmanship fails in its essential purpose because the contractual remedy

  is insufficient to make Plaintiff and Connecticut State Class members whole and because

  Defendants have failed and/or have refused to adequately provide the promised remedies within a

  reasonable time.

         373.    Accordingly, recovery by Plaintiff and Connecticut State Class members is not

  restricted to the limited warranty promising to repair and correct Defendants’ defect in materials

  and workmanship, and they seek all remedies as allowed by law.

         374.    Also, as alleged in more detail herein, at the time Defendants warranted and sold or

  leased the Class Trucks, they knew that the Class Trucks were inherently defective and did not

  conform to their warranties; further, Defendants had wrongfully and fraudulently concealed

  material facts regarding the Class Trucks. Plaintiff and Connecticut State Class members were

  therefore induced to purchase or lease the Class Trucks under false and/or fraudulent pretenses.

         375.    Moreover, many of the injuries flowing from the Class Trucks cannot be resolved

  through the limited remedy of repairing and correcting Defendants’ defect in materials and

  workmanship as many incidental and consequential damages have already been suffered because

  of Defendants’ fraudulent conduct as alleged herein, and because of its failure and/or continued

  failure to provide such limited remedy within a reasonable time, and any limitation on Plaintiff’s

  and Connecticut State Class members’ remedies would be insufficient to make them whole.

         376.    Finally, because of Defendants’ breach of warranty as set forth herein, Plaintiff and

  Connecticut State Class members assert, as additional and/or alternative remedies, the revocation




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  of acceptance of the goods and the return to them the purchase or lease price of all Class Trucks

  currently owned or leased, and for such other incidental and consequential damages as allowed.

              377.   Defendants were provided reasonable notice of these issues by way of a letter sent

  by Plaintiffs as well as the regulators’ investigations.

              378.   As a direct and proximate result of Defendants’ breach of express warranties,

  Plaintiff and Connecticut State Class members have been damaged in an amount to be determined

  at trial.

                                     CONNECTICUT COUNT III:
                             Breach of Implied Warranty of Merchantability
                                   Conn. Gen. Stat. Ann. § 42A-2-314
                               (On Behalf of the Connecticut State Class)
              379.   Plaintiffs re-allege and incorporate by reference all allegations of paragraphs 1

  through 133 as though fully set forth herein.

              380.   Plaintiff Marders (for the purposes of this count, “Plaintiff”) brings this claim on

  behalf of itself and the Connecticut State Class against all Defendants.

              381.   Defendants are and were at all relevant times “merchant[s]” with respect to motor

  vehicles under Conn. Gen. Stat. Ann. § 42a-2-104(1).

              382.   A warranty that the Class Trucks were in merchantable condition and fit for the

  ordinary purpose for which vehicles are used is implied by law pursuant to Conn. Gen. Stat. Ann. §

  42a-2-314.

              383.   These Class Trucks, when sold or leased and at all times thereafter, were materially

  different from vehicles Defendants used for emissions testing, included defects that led to inflated

  and misleading fuel economy and emissions ratings, and/or did not comply with emissions

  regulations when being driven on the road, and were therefore not fit for the ordinary purpose for

  which vehicles are used.

              384.   Defendants were provided reasonable notice of these issues by way of a letter sent

  by Plaintiffs as well as the regulators’ investigations.




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           385.    As a direct and proximate result of Defendants’ breach of the implied warranty of

   merchantability, Plaintiff and Connecticut State Class members have been damaged in an amount

   to be proven at trial.

                                       NEW YORK COUNT I:
                       Violations of the New York General Business Law § 349
                                       N.Y. Gen. Bus. Law § 349
                               (On Behalf of the New York State Class)

          386.    Plaintiffs incorporate by reference paragraphs 1 through 133 as though fully set

  forth herein.

          387.    Plaintiff Marders (for the purposes of this count, “Plaintiff”) brings this count on

  behalf of itself and the New York State Class against all Defendants.

          388.    Plaintiff and the New York State Class members and Defendants are “persons”

  under N.Y. Gen. Bus. Law § 349(h), the New York Deceptive Acts and Practices Act (“NY

  DAPA”).

          389.    Defendants’ actions as set forth herein occurred in the conduct of trade or commerce

  under the NY DAPA.

          390.    The NY DAPA makes unlawful “[d]eceptive acts or practices in the conduct of any

  business, trade or commerce.” N.Y. Gen. Bus. Law § 349. Defendants’ conduct, as set forth herein,

  constitutes deceptive acts or practices under this section.

          391.    In the course of their business, Defendants concealed and suppressed material facts

  concerning the Class Trucks. Defendants accomplished this by (a) submitting engines for emissions

  testing that were different from production engines installed in Class Trucks such that they falsely

  represented fuel consumption and emissions data, and/or (b) falsely attesting that Class Trucks

  could pass emissions tests when they in fact did not.

          392.     Plaintiff and New York State Class members had no way of discerning that

  Defendants’ representations were false and misleading because Plaintiff and New York State Class

  members did not have access to Defendants’ emissions certification test engines and Defendants’

  emissions-related hardware and software was extremely sophisticated technology.




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          393.    Defendants thus violated the Act by, at minimum: representing that Class Trucks

  have characteristics, uses, benefits, and qualities which they do not have; representing that Class

  Trucks are of a particular standard, quality, and grade when they are not; advertising Class Trucks

  with the intent not to sell or lease them as advertised; and representing that the subject of a

  transaction involving Class Trucks has been supplied in accordance with a previous representation

  when it has not.

          394.    Defendants intentionally and knowingly misrepresented material facts regarding the

  Class Trucks with intent to mislead the New York State Class.

          395.    Defendants knew or should have known that their conduct violated the NY DAPA.

          396.    Defendants owed the New York State Class a duty to disclose the illegality and

  public health risks, the true nature of the Class Trucks, because Defendants:

                     A.    possessed exclusive knowledge that they were manufacturing, selling, and

           distributing vehicles throughout the United States that did not perform as advertised;

                     B.    intentionally concealed the foregoing from regulators and New York State

           Class members; and/or

                     C.    made incomplete representations about the Class Trucks’ fuel economy and

           emissions while purposefully withholding material facts that contradicted these

           representations.

          397.    Defendants’ concealment of the true characteristics of the Class Trucks’ true fuel

  consumption and emissions was material to the New York State Class.

          398.    Defendants’ unfair or deceptive acts or practices were likely to and did in fact

  deceive regulators and reasonable consumers, including Plaintiff and the New York State Class,

  about the true environmental cleanliness and fuel efficiency of the Class Trucks, the quality of the

  Defendants’ brands, and the true value of the Class Trucks.

          399.    Defendants’ violations present a continuing risk to Plaintiff and the New York State

  Class as well as to the general public. Defendants’ unlawful acts and practices complained of herein

  affect the public interest.




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         400.     Plaintiff and New York State Class members suffered ascertainable loss and actual

  damages as a direct and proximate result of Defendants’ misrepresentations and concealment of and

  failure to disclose material information. Defendants had an ongoing duty to all their customers to

  refrain from unfair and deceptive practices under the NY DAPA. All owners of Class Trucks

  suffered ascertainable loss as a result of Defendants’ deceptive and unfair acts and practices made

  in the course of Defendants’ business.

         401.     As a direct and proximate result of Defendants’ violations of the NY DAPA,

  Plaintiff and New York State Class members have suffered injury-in-fact and/or actual damage.

         402.     As a result of the foregoing willful, knowing, and wrongful conduct of Defendants,

  Plaintiff and New York State Class members have been damaged in an amount to be proven at trial,

  and seek all just and proper remedies, including but not limited to actual damages or $50, whichever

  is greater, treble damages up to $1,000, punitive damages to the extent available under the law,

  reasonable attorneys’ fees and costs, an order enjoining Defendants’ deceptive and unfair conduct,

  and all other just and appropriate relief available under the NY DAPA.

                                       NEW YORK COUNT II:
                       Violations of the New York General Business Law § 350
                                       N.Y. Gen. Bus. Law § 350
                               (On Behalf of the New York State Class)

         403.     Plaintiffs incorporate by reference paragraphs 1 through 133 as though fully set

  forth herein.

         404.     Plaintiff Marders (for the purposes of this count, “Plaintiff”) brings this count on

  behalf of itself and the New York State Class against all Defendants.

         405.     Defendants were engaged in the “conduct of business, trade or commerce,” within

  the meaning of N.Y. Gen. Bus. Law § 350, the New York False Advertising Act (“NY FAA”)

         406.     The NY FAA makes unlawful “[f]alse advertising in the conduct of any business,

  trade or commerce.” N.Y. Gen. Bus. Law § 350. False advertising includes “advertising, including

  labeling, of a commodity . . . if such advertising is misleading in a material respect,” taking into




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  account “the extent to which the advertising fails to reveal facts material in light of …

  representations [made] with respect to the commodity . . . .” N.Y. Gen. Bus. Law § 350-a.

          407.    Defendants caused to be made or disseminated through New York, through

  advertising, marketing, and other publications, statements and omissions that were untrue or

  misleading, and that were known by Defendants, or that through the exercise of reasonable care

  should have been known by Defendants, to be untrue and misleading to Plaintiff and the New York

  State Class.

          408.    Defendants made numerous material misrepresentations and omissions of fact with

  intent to mislead and deceive concerning the Class Trucks, particularly concerning the illegality,

  efficacy and functioning of the emissions systems on the Class Trucks. Specifically, Defendants

  intentionally concealed and suppressed material facts concerning the legality and quality of the

  Class Trucks to intentionally and grossly defraud and mislead the New York State Class concerning

  the true emissions produced by the Class Trucks.

          409.    The misrepresentations and omissions regarding fuel economy and emissions set

  forth above were material and likely to deceive a reasonable consumer.

          410.    Defendants intentionally and knowingly misrepresented material facts regarding the

  Class Trucks with intent to mislead Plaintiff and the New York State Class.

          411.    Defendants’ false advertising was likely to and did in fact deceive regulators and

  reasonable consumers, including Plaintiff and the New York State Class, about the illegality and

  true characteristics of the Class Trucks, the quality of Defendants brand and the true value of the

  Class Trucks.

          412.     Defendants’ violations of the NY FAA present a continuing risk to Plaintiff and

  New York State Class members and to the general public. Defendants’ deceptive acts and practices

  affect the public interest.

          413.    The Class Trucks do not perform as advertised and are not compliant with EPA

  regulations, making them far less valuable than advertised.




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         414.     Plaintiff and New York State Class members have suffered injury-in-fact and/or

  actual damages and ascertainable loss as a direct and proximate result of the Defendant’s false

  advertising in violation of the NY FAA.

         415.     Plaintiff and the New York State Class seeks monetary relief against Defendants

  measured as the greater of (a) actual damages in an amount to be determined at trial, and (b)

  statutory damages in the amount of $500 each for New York State Class members. Because

  Defendants’ conduct was committed willingly and knowingly, New York State Class members are

  entitled to recover three times actual damages, up to $10,000.

         416.     The New York State Class also seeks an order enjoining Defendants’ false

  advertising, attorneys’ fees, and any other just and proper relief under N.Y. Gen. Bus. Law § 350.

                                     NEW YORK COUNT III:
                                    Breach of Express Warranty
                                N.Y. U.C.C. Law §§ 2-313 and 2A-210
                               (On Behalf of the New York State Class)

         417.     Plaintiffs incorporate by reference paragraphs 1 through 133 as though fully set

  forth herein.

         418.     Plaintiff Marders (for the purposes of this count, “Plaintiff”) brings this count on

  behalf of itself and the New York State Class against all Defendants.

         419.     Defendants are and were at all relevant times “merchant[s]” with respect to motor

  vehicles under N.Y. UCC Law § 2-104(1) and “sellers” of motor vehicles under § 2-103(1)(d).

         420.     With respect to leases, Defendants are and were at all relevant times “lessors” of

  motor vehicles under N.Y. UCC Law § 2A-103(1)(p).

         421.     The Class Trucks are and were at all relevant times “goods” within the meaning of

  N.Y. UCC Law §§ 2-105(1) and 2A-103(1)(h).

         422.     In connection with the purchase or lease of each one of its new vehicles, Defendants

  provide an express base vehicle warranty for a period of two years and unlimited mileage. This

  warranty exists to repair the vehicle in the case of “defects in material and workmanship.”




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  Defendants also provide an express base emissions and base aftertreatment system warranty for a

  period of five years and 250,000 miles, whichever occurs first.

         423.    The Clean Air Act also requires manufacturers of light-duty vehicles to provide two

  federal emission control warranties: a “Performance Warranty” and a “Design and Defect

  Warranty.”

         424.    The EPA requires vehicle manufacturers to provide a Performance Warranty with

  respect to the light-duty trucks’ emission systems. Thus, Defendants also provide an express

  warranty for their light-duty trucks through a Federal Emissions Performance Warranty. The

  Performance Warranty required by the EPA applies to repairs that are required during the first two

  years or 24,000 miles, whichever occurs first, when a vehicle fails an emissions test. Under this

  warranty, certain major emission control components are covered for the first eight years or 80,000

  miles (whichever comes first). These major emission control components subject to the longer

  warranty include the catalytic converters, the electronic emission control unit, and the onboard

  emission diagnostic device or computer.

         425.    The EPA requires vehicle manufacturers to issue Design and Defect Warranties with

  respect to their light-duty trucks’ emission systems. Thus, Defendants also provide an express

  warranty for their light-duty trucks through a Federal Emission Control System Defect Warranty.

  The Design and Defect Warranty required by the EPA covers repair of emission control or emission

  related parts, which fail to function or function improperly because of a defect in materials or

  workmanship. This warranty provides protection for two years or 24,000 miles, whichever comes

  first, or, for the major emission control components, for eight years or 80,000 miles, whichever

  comes first.

         426.    In addition, the EPA mandates vehicle manufacturers to issue general

  emission-related warranties with respect to all vehicles emission control systems. Thus, Defendants

  also provide an express warranty for their trucks through 40 C.F.R. § 1037.120. The general

  emission-related warranty required by the EPA covers the design and manufacture of all parts of the

  emission control system, ensuring they are free from defect in materials and workmanship. The




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  warranty provides protection for light-duty vehicles for five years or 50,000 miles, whichever

  comes first. For medium- and heavy-duty vehicles, the warranty provides 5 years or 100,000 miles,

  whichever comes first.

          427.    Defendants were required to provide these warranties to purchasers or lessees of

  Class Trucks.

          428.    Defendants’ warranties formed a basis of the bargain that was reached when

  consumers purchased or leased Class Trucks.

          429.    Despite the existence of warranties, Defendants failed to inform Plaintiff and New

  York State Class members that the Class Trucks were defectively designed and manufactured to

  emit more pollution and achieve worse fuel economy on the road than what was disclosed to

  regulators and represented to consumers who purchased or leased them, and Defendants failed to

  fix the defective emission components free of charge.

          430.    Defendants breached the express warranty promising to repair and correct

  Defendants’ defect in materials and workmanship. Defendants have not repaired or adjusted, and

  have been unable to repair or adjust, the Class Trucks’ materials and workmanship defects.

          431.    Affording Defendants a reasonable opportunity to cure their breach of written

  warranties would be unnecessary and futile here.

          432.    Furthermore, the limited warranty promising to repair and correct Defendants’

  defect in materials and workmanship fails in its essential purpose because the contractual remedy is

  insufficient to make Plaintiff and New York State Class members whole and because Defendants

  have failed and/or have refused to adequately provide the promised remedies within a reasonable

  time.

          433.    Accordingly, recovery by Plaintiff and New York State Class members is not

  restricted to the limited warranty promising to repair and correct Defendants’ defect in materials

  and workmanship, and they seek all remedies as allowed by law.

          434.    Also, as alleged in more detail herein, at the time Defendants warranted and sold or

  leased the Class Trucks, they knew that the Class Trucks were inherently defective and did not




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  conform to their warranties; further, Defendants had wrongfully and fraudulently concealed

  material facts regarding the Class Trucks. Plaintiff and New York State Class members were

  therefore induced to purchase or lease the Class Trucks under false and/or fraudulent pretenses.

           435.   Moreover, many of the injuries flowing from the Class Trucks cannot be resolved

  through the limited remedy of repairing and correcting Defendants’ defect in materials and

  workmanship as many incidental and consequential damages have already been suffered because of

  Defendants’ fraudulent conduct as alleged herein, and because of its failure and/or continued failure

  to provide such limited remedy within a reasonable time, and any limitation on Plaintiff and New

  York State Class members’ remedies would be insufficient to make them whole.

           436.   Finally, because of Defendants’ breach of warranty as set forth herein, Plaintiff and

  New York State Class members assert, as additional and/or alternative remedies, the revocation of

  acceptance of the goods and the return to them the purchase or lease price of all Class Trucks

  currently owned or leased, and for such other incidental and consequential damages as allowed.

           437.   Defendants were provided reasonable notice of these issues by way of a letter sent

  by Plaintiff as well as the regulators’ investigations.

           438.   As a direct and proximate result of Defendants’ breach of express warranties,

  Plaintiff and New York State Class members have been damaged in an amount to be determined at

  trial.

                                      NEW YORK COUNT IV:
                           Breach of Implied Warranty of Merchantability
                               N.Y. U.C.C. Law §§ 2-314 and 2A-212
                              (On Behalf of the New York State Class)

           439.   Plaintiffs re-allege and incorporate by reference all allegations of paragraphs 1

  through 133 as though fully set forth herein.

           440.   Plaintiff Marders (for the purposes of this count, “Plaintiff”) brings this count on

  behalf of itself and the New York State Class against all Defendants.

           441.   Defendants are and were at all relevant times “merchant[s]” with respect to motor

  vehicles under N.Y. UCC Law § 2-104(1) and “sellers” of motor vehicles under § 2-103(1)(d).




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            442.   With respect to leases, Defendants are and were at all relevant times “lessors” of

  motor vehicles under N.Y. UCC Law § 2A-103(1)(p).

            443.   The Class Trucks are and were at all relevant times “goods” within the meaning of

  N.Y. UCC Law §§ 2-105(1) and 2A-103(1)(h).

            444.   A warranty that the Class Trucks were in merchantable condition and fit for the

  ordinary purpose for which vehicles are used is implied by law pursuant to N.Y. UCC Law §§

  2-314 and 2A-212.

            445.   These Class Trucks, when sold or leased and at all times thereafter, were materially

  different from vehicles Defendants used for emissions testing, included defects that led to inflated

  and misleading fuel economy and emissions ratings, and/or did not comply with emissions

  regulations when being driven on the road, and were therefore not fit for the ordinary purpose for

  which vehicles are used.

            446.   Defendants were provided reasonable notice of these issues by way of a letter sent

  by Plaintiff as well as the regulators’ investigations.

   As a direct and proximate result of Defendants’ breach of the implied warranty of merchantability,

   Plaintiff and New York State Class members have been damaged in an amount to be proven at

   trial.

   IX.      REQUEST FOR RELIEF
            WHEREFORE, Plaintiffs, individually and on behalf of members of the Nationwide Class

   and all Subclasses, respectfully request that the Court enter judgment in their favor and against

   Defendants, as follows:

                   A.      An order temporarily and permanently enjoining Defendants from

            continuing the unlawful, deceptive, fraudulent, harmful, and unfair business conduct and

            practices alleged in this Complaint;

                   B.      Relief in the form of a comprehensive program to fully reimburse and make

            whole all Class members for all costs and economic losses resulted from the inaccurate fuel




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        economy disclosures, as well as any other consequential damages suffered as a result of the

        false fuel economy statistics;

                C.     A declaration that Defendants are financially responsible for all Class

        notice and the administration of Class relief;

                D.     Costs, restitution, compensatory damages for economic loss and

        out-of-pocket costs, multiple damages under applicable states’ laws, punitive and

        exemplary damages under applicable law; and disgorgement, in an amount to be

        determined at trial;

                E.     Rescission of all Class Truck purchases or leases, including reimbursement

        and/or compensation of the full purchase price of all Class Trucks, including taxes,

        licenses, and other fees.

                F.     Any and applicable statutory and civil penalties;

                G.     An order requiring Defendants to pay both pre- and post-judgment interest

        on any amounts awarded.

                H.     An award of costs and attorneys’ fees, as allowed by law;

                I.     Leave to amend this Complaint to conform to the evidence produced at

        trial; and

                J.     Such other or further relief as the Court may deem appropriate, just, and

        equitable.




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  X.      DEMAND FOR JURY TRIAL
          Pursuant to Federal Rule of Civil Procedure 38(b), Plaintiffs demand a trial by jury of any

  and all issues in this action so triable of right.

  Dated: August 5, 2022                  Respectfully submitted,


                                         By: /s/ Peter Prieto

                                         Peter Prieto (FBN 501492)
                                         Matthew P. Weinshall (FBN 84783)
                                         PODHURST ORSECK, P.A.
                                         SunTrust International Center
                                         One S.E. 3rd Ave, Suite 2300
                                         Miami, Florida 33131
                                         Telephone: 305-358-2800
                                         Facsimile: 305-358-2382
                                         E-mail: pprieto@podhurst.com
                                         E-mail: mweinshall@podhurst.com

                                         David S. Stellings (NY State Bar No. 2635282)
                                         Pro-hac vice forthcoming
                                         Wilson M. Dunlavey (CA State Bar No. 307719)
                                         Pro-hac vice forthcoming
                                         Kara I. McBride (NY State Bar No. 5452388)
                                         Pro-hac vice forthcoming
                                         LIEFF CABRASER HEIMANN & BERNSTEIN, LLP
                                         250 Hudson Street, 8th Floor
                                         New York, NY 10013
                                         Telephone: 212.355.9500
                                         Facsimile: 212.355.9592
                                         E-mail: dstellings@lchb.com
                                         E-mail: wdunlavey@lchb.com
                                         E-mail: kmcbride@lchb.com

                                         Elizabeth J. Cabraser (CA Bar No. 083151)
                                         Pro-hac vice forthcoming
                                         Kevin Budner (CA Bar No. 287271)
                                         Pro-hac vice forthcoming
                                         Phong-Chau G. Nguyen (CA State Bar No. 286789)
                                         Pro-hac vice forthcoming
                                         Amelia A. Haselkorn (CA State Bar No. 339633)
                                         Pro-hac vice forthcoming
                                         LIEFF CABRASER HEIMANN & BERNSTEIN, LLP
                                         275 Battery Street, 29th Floor
                                         San Francisco, CA 94111
                                         Telephone: 415.956.1000
                                         Facsimile: 415.956.1008
                                         E-mail: ecabraser@lchb.com
                                         E-mail: kbudner@lchb.com
                                         E-mail: pgnguyen@lchb.com
                                         E-mail: ahaselkorn@lchb.com



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                              Roland Tellis (CA State Bar No. 186269)
                              Pro-hac vice forthcoming
                              David Fernandes (CA State Bar No. 280944)
                              Pro-hac vice forthcoming
                              Adam Tamburelli (CA State Bar No. 301902)
                              Pro-hac vice forthcoming
                              Shannon Royster (CA State Bar No. 314126)
                              Pro-hac vice forthcoming
                              BARON & BUDD, P.C.
                              15910 Ventura Boulevard, Suite 1600
                              Encino, CA 91436
                              Telephone: 818,839.2333
                              Facsimile: 818.986.9698
                              E-mail: rtellis@baronbudd.com
                              E-mail: dfernandes@baronbudd.com
                              E-mail: atamburelli@baronbudd.com
                              E-mail: sroyster@baronbudd.com




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